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            Form 5500                               Annual Return/Report of Employee Benefit Plan                                                                                A?6 @W[' *+*)&)**)
                                                                                                                                                                                          *+*)&))12
                                                  EPQ[ NWZU Q[ ZMY]QZML \W JM NQTML NWZ MUXTWaMM JMVMNQ\ XTIV[ ]VLMZ [MK\QWV[ *)-
         8MXIZ\UMV\ WN \PM EZMI[]Za              IVL -)/. WN \PM 9UXTWaMM CM\QZMUMV\ =VKWUM DMK]ZQ\a 5K\ WN *20- #9C=D5$ IVL
          =V\MZVIT CM^MV]M DMZ^QKM               [MK\QWV[ /)-0#M$% /).0#J$% IVL /).1#I$ WN \PM =V\MZVIT CM^MV]M 7WLM #\PM 7WLM$'                                             2013
           8MXIZ\UMV\ WN >IJWZ
         9UXTWaMM 6MVMNQ\[ DMK]ZQ\a                                        Complete all entries in accordance with
              5LUQVQ[\ZI\QWV                                                the instructions to the Form 5500.
                                                                                                                                                               This Form is Open to Public
    BMV[QWV 6MVMNQ\ <]IZIV\a 7WZXWZI\QWV
                                                                                                                                                                       Inspection
 Part I        Annual Report Identification Information
;WZ KITMVLIZ XTIV aMIZ +)*, WZ NQ[KIT XTIV aMIZ JMOQVVQVO                  07/01/2013                                          IVL MVLQVO        06/30/2014
A EPQ[ ZM\]ZV(ZMXWZ\ Q[ NWZ3                          X I U]T\QMUXTWaMZ XTIV4                          X I U]T\QXTM&MUXTWaMZ XTIV4 WZ
                                                      X I [QVOTM&MUXTWaMZ XTIV4                        X I 8;9 #[XMKQNa$     _C_

B EPQ[ ZM\]ZV(ZMXWZ\ Q[3                              X \PM NQZ[\ ZM\]ZV(ZMXWZ\4                       X \PM NQVIT ZM\]ZV(ZMXWZ\4
                                                      X IV IUMVLML ZM\]ZV(ZMXWZ\4                      X I [PWZ\ XTIV aMIZ ZM\]ZV(ZMXWZ\ #TM[[ \PIV *+ UWV\P[$'
C =N \PM XTIV Q[ I KWTTMK\Q^MTa&JIZOIQVML XTIV% KPMKS PMZM' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' ' '" X
D 7PMKS JW` QN NQTQVO ]VLMZ3                 X ;WZU ...14                                          X I]\WUI\QK M`\MV[QWV4                                                X \PM 8;G7 XZWOZIU4
                                             X [XMKQIT M`\MV[QWV #MV\MZ LM[KZQX\QWV$ ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
 Part II    Basic Plan InformationcMV\MZ ITT ZMY]M[\ML QVNWZUI\QWV
1a @IUM WN XTIV                                                                                                                                                  1b EPZMM&LQOQ\ XTIV
                                                                                                                                                                                              001
                                                                                                                                                                                              001
ABCDEFGHI     ABCDEFGHI
YALE UNIVERSITY RETIREMENTABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                            ACCOUNT PLAN                                                                                                                               V]UJMZ #B@$ "
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                            1c    9NNMK\Q^M LI\M WN XTIV
                                                                                                                                                                       YYYY-MM-DD
                                                                                                                                                                       10/01/1920
2a BTIV [XWV[WZd[ VIUM IVL ILLZM[[4 QVKT]LM ZWWU WZ []Q\M V]UJMZ #MUXTWaMZ% QN NWZ I [QVOTM&MUXTWaMZ XTIV$                                                       2b 9UXTWaMZ =LMV\QNQKI\QWV
                                                                                                                                                                       @]UJMZ #9=@$
YALE UNIVERSITY                                                                                                                                                        XX-XXXXXXX
                                                                                                                                                                       012345678
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                            2c DXWV[WZd[ \MTMXPWVM
D/B/A   ABCDEFGHI
CONTROLLERS   OFFICE ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                 V]UJMZ
ABCDEFGHI                                                                                                                                                              0123456789
                                                                                                                                                                           203-432-5788
PO BOX 208372
c/o  ABCDEFGHI
NEW HAVEN,        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
           CT 06520-8372                                                                                                                                         2d 6][QVM[[ KWLM #[MM
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                    QV[\Z]K\QWV[$
                                                                                                                                                                       611000
                                                                                                                                                                       012345
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK

Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
FVLMZ XMVIT\QM[ WN XMZR]Za IVL W\PMZ XMVIT\QM[ [M\ NWZ\P QV \PM QV[\Z]K\QWV[% = LMKTIZM \PI\ = PI^M M`IUQVML \PQ[ ZM\]ZV(ZMXWZ\% QVKT]LQVO IKKWUXIVaQVO [KPML]TM[%
[\I\MUMV\[ IVL I\\IKPUMV\[% I[ _MTT I[ \PM MTMK\ZWVQK ^MZ[QWV WN \PQ[ ZM\]ZV(ZMXWZ\% IVL \W \PM JM[\ WN Ua SVW_TMLOM IVL JMTQMN% Q\ Q[ \Z]M% KWZZMK\% IVL KWUXTM\M'


SIGN       Filed with authorized/valid electronic signature.                                    YYYY-MM-DD
                                                                                                04/13/2015               ABCDEFGHI
                                                                                                                         MICHAEL PEEL ABCDEFGHI ABCDEFGHI ABCDE
HERE
            Signature of plan administrator                                                     8I\M                     9V\MZ VIUM WN QVLQ^QL]IT [QOVQVO I[ XTIV ILUQVQ[\ZI\WZ

SIGN                                                                                            YYYY-MM-DD               ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
            Signature of employer/plan sponsor                                                  8I\M                     9V\MZ VIUM WN QVLQ^QL]IT [QOVQVO I[ MUXTWaMZ WZ XTIV [XWV[WZ

SIGN                                                                                            YYYY-MM-DD               ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
          Signature of DFE                                                  8I\M                9V\MZ VIUM WN QVLQ^QL]IT [QOVQVO I[ 8;9
BZMXIZMZd[ VIUM #QVKT]LQVO NQZU VIUM% QN IXXTQKIJTM$ IVL ILLZM[[4 QVKT]LM ZWWU WZ []Q\M V]UJMZ' #WX\QWVIT$              BZMXIZMZd[ \MTMXPWVM V]UJMZ
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI #WX\QWVIT$
ABCDEFGHI ABCDEFGHI ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
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ABCDEFGHI ABCDEFGHI
For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500.                                                                                  Form 5500 (2013)
                                                                                                                                                                                 v. 130118




                                                                                                                                                                      GZJKDKV!6
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        Form 5500 (2013)                                                       Page 2
3a Plan administrator’s name and address X Same as Plan Sponsor Name X Same as Plan Sponsor Address                                                                                         3b Administrator’s EIN
                                                                                                                                                                                                   XX-XXXXXXX
                                                                                                                                                                                               012345678
 YALE UNIVERSITY
ABCDEFGHI
 CONTROLLERS  ABCDEFGHI
                OFFICE         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                            3c Administrator’s telephone
c/o  ABCDEFGHI
 PO BOX  208372     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                 number
 NEW HAVEN, CT
123456789        06520-8372 ABCDEFGHI ABCDE
              ABCDEFGHI                                                                                                                                                                            203-432-5788
                                                                                                                                                                                                0123456789
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK
4 If the name and/or EIN of the plan sponsor has changed since the last return/report filed for this plan, enter the name,
                                                                                                                4b EIN
      EIN and the plan number from the last return/report:                                                          012345678
 a Sponsor’s name                                                                                               4c PN
      ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                         012
5 Total number of participants at the beginning of the plan year                                                  5               15896
                                                                                                                         123456789012
6 Number of participants as of the end of the plan year (welfare plans complete only lines 6a, 6b, 6c, and 6d).

 a Active participants ................................................................................................................................................................      6a                   8532
                                                                                                                                                                                                        123456789012

 b Retired or separated participants receiving benefits ............................................................................................................. 6b                                           26
                                                                                                                                                                                                        123456789012

 c Other retired or separated participants entitled to future benefits..........................................................................................                             6c         123456789012
                                                                                                                                                                                                                  7893

 d Subtotal. Add lines 6a, 6b, and 6c....................................................................................................................................... 6d                         123456789012
                                                                                                                                                                                                                 16451

 e Deceased participants whose beneficiaries are receiving or are entitled to receive benefits. ................................................                                             6e                    40
                                                                                                                                                                                                        123456789012

 f Total. Add lines 6d and 6e. .................................................................................................................................................              6f                 16491
                                                                                                                                                                                                        123456789012

 g Number of participants with account balances as of the end of the plan year (only defined contribution plans
      complete this item) ...............................................................................................................................................................    6g                  16487
                                                                                                                                                                                                        123456789012

 h Number of participants that terminated employment during the plan year with accrued benefits that were
   less than 100% vested ......................................................................................................................................................... 6h 1234567890120
7 Enter the total number of employers obligated to contribute to the plan (only multiemployer plans complete this item)......... 7
8a If the plan provides pension benefits, enter the applicable pension feature codes from the List of Plan Characteristics Codes in the instructions:
      2F      2G       2L     2M      2S      2T

 b If the plan provides welfare benefits, enter the applicable welfare feature codes from the List of Plan Characteristics Codes in the instructions:


9a Plan funding arrangement (check all that apply)                              9b Plan benefit arrangement (check all that apply)
   (1)     X Insurance                                                              (1)       X Insurance
   (2)     X Code section 412(e)(3) insurance contracts                             (2)       X Code section 412(e)(3) insurance contracts
   (3)     X Trust                                                                  (3)       X Trust
   (4)     X General assets of the sponsor                                          (4)       X General assets of the sponsor
10 Check all applicable boxes in 10a and 10b to indicate which schedules are attached, and, where indicated, enter the number attached. (See instructions)
  a Pension Schedules                                                                                                      b General Schedules
    (1)    X R (Retirement Plan Information)                                                                                    (1)           X              H (Financial Information)

      (2)          X        MB (Multiemployer Defined Benefit Plan and Certain Money                                            (2)           X     I (Financial Information – Small Plan)
                            Purchase Plan Actuarial Information) - signed by the plan                                           (3)           X ___
                                                                                                                                                 1 A (Insurance Information)
                            actuary
                                                                                                                                (4)           X     C (Service Provider Information)
      (3)          X        SB (Single-Employer Defined Benefit Plan Actuarial                                                  (5)           X     D (DFE/Participating Plan Information)
                            Information) - signed by the plan actuary                                                           (6)           X     G (Financial Transaction Schedules)
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        SCHEDULE A                                                Insurance Information                                                   OMB No. 1210-0110
           (Form 5500)
        Department of the Treasury
         Internal Revenue Service
                                                       This schedule is required to be filed under section 104 of the                          2013
                                                       Employee Retirement Income Security Act of 1974 (ERISA).
           Department of Labor
  Employee Benefits Security Administration                      File as an attachment to Form 5500.
                                                                                                                                   This Form is Open to Public
    Pension Benefit Guaranty Corporation
                                                      Insurance companies are required to provide the information                         Inspection
                                                                    pursuant to ERISA section 103(a)(2).
For calendar plan year 2013 or fiscal plan year beginning           07/01/2013                              and ending     06/30/2014
A Name of plan                                                           B Three-digit
YALE UNIVERSITY   RETIREMENT    ACCOUNT PLAN                                                                  001
ABCDEFGHI      ABCDEFGHI     ABCDEFGHI         ABCDEFGHI ABCDEFGHI ABCDE     plan number (PN)                         001
FGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                   D Employer Identification Number (EIN)
YALE UNIVERSITY
ABCDEFGHI      ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE               XX-XXXXXXX
                                                                             012345678
FGHI ABCDEFGHI
 Part I    Information Concerning Insurance Contract Coverage, Fees, and Commissions Provide information for each contract
                on a separate Schedule A. Individual contracts grouped as a unit in Parts II and III can be reported on a single Schedule A.
1 Coverage Information:
(a) Name of insurance carrier
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
TIAA-CREF
                                                                                     (e) Approximate number of                    Policy or contract year
                                     (c) NAIC            (d) Contract or
         (b) EIN                                                                      persons covered at end of
                                       code           identification number                                                (f) From                    (g) To
                                                                                        policy or contract year

XX-XXXXXXX
012345678                        69345
                                  ABCDE           102373
                                                 ABCDE0123456789                   1234567           9304               07/01/2013
                                                                                                                          YYYY-MM-DD             06/30/2014
                                                                                                                                                  YYYY-MM-DD
2 Insurance fee and commission information. Enter the total fees and total commissions paid. List in line 3 the agents, brokers, and other persons in
  descending order of the amount paid.
                   (a) Total amount of commissions paid                                                      (b) Total amount of fees paid
                                                   123456789012345                                                                           123456789012345
3 Persons receiving commissions and fees. (Complete as many entries as needed to report all persons).
                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI           ABCDEFGHI              ABCDEFGHI ABCDE
123456789           ABCDEFGHI              ABCDEFGHI ABCDE
123456789           ABCDEFGHI              ABCDEFGHI ABCDE
CITY56789           ABCDEFGHI              AB, ST 021345678901
   (b) Amount of sales and base                                               Fees and other commissions paid
        commissions paid                               (c) Amount                                       (d) Purpose                             (e) Organization code
     -123456789012345                           -123456789012345                 ABCDEFGHI ABCDEFGHI ABCDEFGHI                                              1
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI           ABCDEFGHI              ABCDEFGHI ABCDE
123456789           ABCDEFGHI              ABCDEFGHI ABCDE
123456789           ABCDEFGHI              ABCDEFGHI ABCDE
CITY56789           ABCDEFGHI              AB, ST 021345678901
   (b) Amount of sales and base                                               Fees and other commissions paid
        commissions paid                               (c) Amount                                       (d) Purpose                             (e) Organization code
     -123456789012345                           -123456789012345                 ABCDEFGHI ABCDEFGHI ABCDEFGHI                                              1
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500.                                         Schedule A (Form 5500) 2013
                                                                                                                                                          v. 130118
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        Schedule A (Form 5500) 2013                                          Page 2   - 11 x

                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI     ABCDEFGHI         ABCDEFGHI ABCDE
123456789     ABCDEFGHI         ABCDEFGHI ABCDE
123456789     ABCDEFGHI         ABCDEFGHI ABCDE
CITY56789     ABCDEFGHI         AB, ST 021345678901
 (b) Amount of sales and base                                     Fees and other commissions paid                            (e) Organization
      commissions paid                     (c) Amount                                          (d) Purpose                         code
  -123456789012345                  -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                    1
                                                                   ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI     ABCDEFGHI         ABCDEFGHI ABCDE
123456789     ABCDEFGHI         ABCDEFGHI ABCDE
123456789     ABCDEFGHI         ABCDEFGHI ABCDE
CITY56789     ABCDEFGHI         AB, ST 021345678901
 (b) Amount of sales and base                                     Fees and other commissions paid                            (e) Organization
      commissions paid                     (c) Amount                                          (d) Purpose                         code
  -123456789012345                  -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                    1
                                                                   ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI     ABCDEFGHI         ABCDEFGHI ABCDE
123456789     ABCDEFGHI         ABCDEFGHI ABCDE
123456789     ABCDEFGHI         ABCDEFGHI ABCDE
CITY56789     ABCDEFGHI         AB, ST 021345678901
 (b) Amount of sales and base                                     Fees and other commissions paid                            (e) Organization
      commissions paid                     (c) Amount                                          (d) Purpose                         code
  -123456789012345                  -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                    1
                                                                   ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI     ABCDEFGHI         ABCDEFGHI ABCDE
123456789     ABCDEFGHI         ABCDEFGHI ABCDE
123456789     ABCDEFGHI         ABCDEFGHI ABCDE
CITY56789     ABCDEFGHI         AB, ST 021345678901
 (b) Amount of sales and base                                     Fees and other commissions paid                            (e) Organization
      commissions paid                     (c) Amount                                          (d) Purpose                         code
  -123456789012345                  -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                    1
                                                                   ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI     ABCDEFGHI         ABCDEFGHI ABCDE
123456789     ABCDEFGHI         ABCDEFGHI ABCDE
123456789     ABCDEFGHI         ABCDEFGHI ABCDE
CITY56789     ABCDEFGHI         AB, ST 021345678901
 (b) Amount of sales and base                                     Fees and other commissions paid                            (e) Organization
      commissions paid                     (c) Amount                                          (d) Purpose                         code
  -123456789012345                  -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                    1
                                                                   ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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             Schedule A (Form 5500) 2013                                                                                             Page 3

Part II           Investment and Annuity Contract Information
               Where individual contracts are provided, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of
               this report.
4   Current value of plan’s interest under this contract in the general account at year end .................................................. 4           912298748
                                                                                                                                                 -123456789012345
5   Current value of plan’s interest under this contract in separate accounts at year end .................................................... 5 -123456789012345
                                                                                                                                                          1381450036
6   Contracts With Allocated Funds:
    a State the basis of premium rates 

    b     Premiums paid to carrier.......................................................................................................................................          6b     -123456789012345
    c     Premiums due but unpaid at the end of the year ...................................................................................................                       6c     -123456789012345
    d     If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or
                                                                                                                                                                                   6d     -123456789012345
          retention of the contract or policy, enter amount. ..................................................................................................
          Specify nature of costs 


    e     Type of contract: (1)             X individual policies                        (2)   X group deferred annuity
          (3)   X other (specify)              

   f If contract purchased, in whole or in part, to distribute benefits from a terminating plan, check here   X
7 Contracts With Unallocated Funds (Do not include portions of these contracts maintained in separate accounts)
  a Type of contract:       (1) X deposit administration             (2) X immediate participation guarantee
                            (3) X guaranteed investment              (4) X other 



    b     Balance at the end of the previous year................................................................................................................   7b                    -123456789012345
                                                                                                                                                                                                    875155260
    c     Additions: (1) Contributions deposited during the year .................................. 7c(1)                            -123456789012345           18289859
          (2) Dividends and credits ............................................................................... 7c(2)            -1234567890123450
          (3) Interest credited during the year ............................................................... 7c(3)                -123456789012345           37981663
          (4) Transferred from separate account........................................................... 7c(4)                     -123456789012345           85277877
          (5) Other (specify below) ............................................................................... 7c(5)            -123456789012345             1747300
          ADJUSTMENT TO ESTABLISH PLDF


        (6)Total additions ................................................................................................................................................... 7c(6)  -123456789012345
                                                                                                                                                                                                143296699
     d Total of balance and additions (add lines 7b and 7c(6)). ....................................................................................... 7d                            -123456789012345
                                                                                                                                                                                               1018451959
     e Deductions:
       (1) Disbursed from fund to pay benefits or purchase annuities during year                                         7e(1)                   -123456789012345           30713126
       (2) Administration charge made by carrier ...................................................... 7e(2)                                    -123456789012345
       (3) Transferred to separate account................................................................ 7e(3)                                 -123456789012345           75439429
       (4) Other (specify below) ................................................................................ 7e(4)                          -123456789012345                 656
          WITHDRAWAL FEE


          (5) Total deductions ................................................................................................................................................   7e(5)   -123456789012345
                                                                                                                                                                                                    106153211
     f     Balance at the end of the current year (subtract line 7e(5) from line 7d) ...............................................................                               7f     -123456789012345
                                                                                                                                                                                                    912298748
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             Schedule A (Form 5500) 2013                                                                                           Page 4

Part III        Welfare Benefit Contract Information
                If more than one contract covers the same group of employees of the same employer(s) or members of the same employee organizations(s), the
                information may be combined for reporting purposes if such contracts are experience-rated as a unit. Where contracts cover individual employees,
                the entire group of such individual contracts with each carrier may be treated as a unit for purposes of this report.
8 Benefit and contract type (check all applicable boxes)
  a X Health (other than dental or vision)               b X Dental                                                              c X Vision                                            d X Life insurance
  e X Temporary disability (accident and sickness) f X Long-term disability                                                      g X Supplemental unemployment                         h X Prescription drug
  i X Stop loss (large deductible)                       j X HMO contract                                                        k X PPO contract                                      l X Indemnity contract
     m X Other (specify)            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                              ABCKEFGHI ABCDEFGHI ABCDEFGHI ABCDE
9 Experience-rated contracts:
  a Premiums: (1) Amount received................................................................... 9a(1)                                      -123456789012345
          (2) Increase (decrease) in amount due but unpaid ......................................                      9a(2)                     -123456789012345
          (3) Increase (decrease) in unearned premium reserve ...............................                          9a(3)                     -123456789012345
          (4) Earned ((1) + (2) - (3)) .................................................................................................................................. 9a(4)          -1234567890123450
     b     Benefit charges (1) Claims paid .................................................................           9b(1)                     -123456789012345
          (2) Increase (decrease) in claim reserves ...................................................                9b(2)                     -123456789012345
          (3) Incurred claims (add (1) and (2)) ..................................................................................................................        9b(3)            1234567890123450
          (4) Claims charged ............................................................................................................................................ 9b(4)            123456789012345
     c     Remainder of premium: (1) Retention charges (on an accrual basis) --                                                                  -123456789012345
                (A) Commissions ................................................................................. 9c(1)(A)                         -123456789012345
                (B) Administrative service or other fees ................................................ 9c(1)(B)                                 -123456789012345
                (C) Other specific acquisition costs ......................................................             9c(1)(C)                   -123456789012345
                (D) Other expenses..............................................................................        9c(1)(D)                   -123456789012345
                (E) Taxes ............................................................................................. 9c(1)(E)                   -123456789012345
                (F) Charges for risks or other contingencies .........................................                  9c(1)(F)                   -123456789012345
                (G) Other retention charges .................................................................           9c(1)(G)                   -123456789012345
                (H) Total retention ....................................................................................................................................... 9c(1)(H)     -123456789012345 0
       (2) Dividends or retroactive rate refunds. (These amounts were X paid in cash, or X credited.) ....................                                                9c(2)          -123456789012345
     d Status of policyholder reserves at end of year: (1) Amount held to provide benefits after retirement .................                                             9d(1)          -123456789012345
        (2) Claim reserves ............................................................................................................................................   9d(2)          -123456789012345
        (3) Other reserves.............................................................................................................................................   9d(3)          -123456789012345
     e Dividends or retroactive rate refunds due. (Do not include amount entered in line 9c(2).) ................................                                          9e            -123456789012345
10   Nonexperience-rated contracts:
     a Total premiums or subscription charges paid to carrier .....................................................................................                       10a            -123456789012345
     b If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or
        retention of the contract or policy, other than reported in Part I, line 2 above, report amount.............................                                      10b            -123456789012345
      Specify nature of costs 




Part IV     Provision of Information
11 Did the insurance company fail to provide any information necessary to complete Schedule A? ............ X Yes X No
12 If the answer to line 11 is “Yes,” specify the information not provided.  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                              Case 3:16-cv-01345-AWT Document 137-7 Filed 01/15/19 Page 7 of 43
              Schedule C (Form 5500) 2011                                                             Page 1

         SCHEDULE C                                        Service Provider Information                                                         OMB No. 1210-0110

            (Form 5500)                                                                                                                              2013
          Department of the Treasury             This schedule is required to be filed under section 104 of the Employee
           Internal Revenue Service                        Retirement Income Security Act of 1974 (ERISA).
            Department of Labor                                                                                                          This Form is Open to Public
   Employee Benefits Security Administration                     File as an attachment to Form 5500.                                            Inspection.
     Pension Benefit Guaranty Corporation
For calendar plan year 2013 or fiscal plan year beginning       07/01/2013                                   and ending      06/30/2014
A Name of plan                                                                                          B Three-digit
YALE UNIVERSITY RETIREMENT ACCOUNT PLAN                                                                                                             001
ABCDEFGHI                                                                                                    plan number (PN)                     001


C Plan sponsor’s name as shown on line 2a of Form 5500                                                  D Employer Identification Number (EIN)
ABCDEFGHI
YALE UNIVERSITY                                                                                         012345678
                                                                                                          XX-XXXXXXX



 Part I      Service Provider Information (see instructions)

  You must complete this Part, in accordance with the instructions, to report the information required for each person who received, directly or indirectly, $5,000
  or more in total compensation (i.e., money or anything else of monetary value) in connection with services rendered to the plan or the person's position with the
  plan during the plan year. If a person received only eligible indirect compensation for which the plan received the required disclosures, you are required to
  answer line 1 but are not required to include that person when completing the remainder of this Part.


1 Information on Persons Receiving Only Eligible Indirect Compensation
a Check "Yes" or "No" to indicate whether you are excluding a person from the remainder of this Part because they received only eligible
  indirect compensation for which the plan received the required disclosures (see instructions for definitions and conditions).. . . . . . . . . . . . . . .   X Yes X No

b If you answered line 1a “Yes,” enter the name and EIN or address of each person providing the required disclosures for the service providers who
  received only eligible indirect compensation. Complete as many entries as needed (see instructions).

                                (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation
TIAA-TEACHERS INS. AND ANNUITY ASSO


XX-XXXXXXX


                                 (b) Enter name and EIN or address of person who provided you disclosure on eligible indirect compensation
CREF-TIAA-CREF INV. MANAGEMENT, LLC



XX-XXXXXXX


                                (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation
TIAA-CREF MUTUAL FUNDS-TEACHERS ADV



XX-XXXXXXX


                                (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation
THE VANGUARD GROUP, INC.



XX-XXXXXXX


  For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500                                               Schedule C (Form 5500) 2013
                                                                                                                                                                  v.130118
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                     (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation

JP MORGAN CHASE BANK N.A.


XX-XXXXXXX


                     (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation




                     (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation




                     (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation




                     (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation




                     (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation




                     (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation




                     (b) Enter name and EIN or address of person who provided you disclosures on eligible indirect compensation
                           Case 3:16-cv-01345-AWT Document 137-7 Filed 01/15/19 Page 9 of 43
               Schedule C (Form 5500) 2013                                                Page 3    - 11 x

2. Information on Other Service Providers Receiving Direct or Indirect Compensation. Except for those persons for whom you
     answered “Yes” to line 1a above, complete as many entries as needed to list each person receiving, directly or indirectly, $5,000 or more in total compensation
     (i.e., money or anything else of value) in connection with services rendered to the plan or their position with the plan during the plan year. (See instructions).


                                                          (a) Enter name and EIN or address (see instructions)
 YALE UNIVERSITY



 XX-XXXXXXX

      (b)               (c)                   (d)                     (e)                            (f)                           (g)                      (h)
     Service      Relationship to       Enter direct       Did service provider          Did indirect compensation        Enter total indirect    Did the service
     Code(s)    employer, employee compensation paid         receive indirect              include eligible indirect  compensation received by provider give you a
                  organization, or by the plan. If none, compensation? (sources         compensation, for which the service provider excluding formula instead of
                person known to be       enter -0-.       other than plan or plan        plan received the required         eligible indirect      an amount or
                 a party-in-interest                             sponsor)                       disclosures?         compensation for which you estimated amount?
                                                                                                                     answered “Yes” to element
                                                                                                                        (f). If none, enter -0-.

14             PLAN
               ABCDEFGHI              123456789012
                                               94300                                                                    123456789012345
               ADMINISTRATOR                                    Yes   X No X                  Yes   X No X                                            Yes   X No X
               ABCDEFGHI                   345
               ABCD

                                                          (a) Enter name and EIN or address (see instructions)
 PRICEWATERHOUSECOOPERS LLC



 XX-XXXXXXX

      (b)               (c)                   (d)                     (e)                            (f)                           (g)                      (h)
     Service      Relationship to       Enter direct       Did service provider          Did indirect compensation        Enter total indirect    Did the service
     Code(s)    employer, employee compensation paid         receive indirect              include eligible indirect  compensation received by provider give you a
                  organization, or by the plan. If none, compensation? (sources         compensation, for which the service provider excluding formula instead of
                person known to be       enter -0-.       other than plan or plan        plan received the required         eligible indirect      an amount or
                 a party-in-interest                             sponsor)                       disclosures?         compensation for which you estimated amount?
                                                                                                                     answered “Yes” to element
                                                                                                                        (f). If none, enter -0-.

10             AUDITOR
               ABCDEFGHI              123456789012
                                               34680                                                                    123456789012345
               ABCDEFGHI                   345                  Yes   X No X                  Yes   X No X                                            Yes   X No X
               ABCD

                                                          (a) Enter name and EIN or address (see instructions)
 DKC RETIREMENT ASSOCIATION



 XX-XXXXXXX

      (b)               (c)                   (d)                     (e)                            (f)                           (g)                      (h)
     Service      Relationship to       Enter direct       Did service provider          Did indirect compensation        Enter total indirect    Did the service
     Code(s)    employer, employee compensation paid         receive indirect              include eligible indirect  compensation received by provider give you a
                  organization, or by the plan. If none, compensation? (sources         compensation, for which the service provider excluding formula instead of
                person known to be       enter -0-.       other than plan or plan        plan received the required         eligible indirect      an amount or
                 a party-in-interest                             sponsor)                       disclosures?         compensation for which you estimated amount?
                                                                                                                     answered “Yes” to element
                                                                                                                        (f). If none, enter -0-.

49             ABCDEFGHI
               TRAINING & EDU. 123456789012
                                        31875
               PROVIDER
               ABCDEFGHI            345                         Yes   X No X                  Yes   X No X                                            Yes   X No X
               ABCD
                          Case 3:16-cv-01345-AWT Document 137-7 Filed 01/15/19 Page 10 of 43
               Schedule C (Form 5500) 2013                                                Page 3    - 12 x

2. Information on Other Service Providers Receiving Direct or Indirect Compensation. Except for those persons for whom you
     answered “Yes” to line 1a above, complete as many entries as needed to list each person receiving, directly or indirectly, $5,000 or more in total compensation
     (i.e., money or anything else of value) in connection with services rendered to the plan or their position with the plan during the plan year. (See instructions).


                                                          (a) Enter name and EIN or address (see instructions)
 HEWITT ENNIS KNUPP, INC



 XX-XXXXXXX

      (b)               (c)                   (d)                     (e)                            (f)                           (g)                      (h)
     Service      Relationship to       Enter direct       Did service provider          Did indirect compensation        Enter total indirect    Did the service
     Code(s)    employer, employee compensation paid         receive indirect              include eligible indirect  compensation received by provider give you a
                  organization, or by the plan. If none, compensation? (sources         compensation, for which the service provider excluding formula instead of
                person known to be       enter -0-.       other than plan or plan        plan received the required         eligible indirect      an amount or
                 a party-in-interest                             sponsor)                       disclosures?         compensation for which you estimated amount?
                                                                                                                     answered “Yes” to element
                                                                                                                        (f). If none, enter -0-.

16             CONSULTANT
               ABCDEFGHI              123456789012
                                               7031                                                                     123456789012345
               ABCDEFGHI                   345                  Yes   X No X                  Yes   X No X                                            Yes   X No X
               ABCD

                                                          (a) Enter name and EIN or address (see instructions)




      (b)               (c)                   (d)                     (e)                            (f)                           (g)                      (h)
     Service      Relationship to       Enter direct       Did service provider          Did indirect compensation        Enter total indirect    Did the service
     Code(s)    employer, employee compensation paid         receive indirect              include eligible indirect  compensation received by provider give you a
                  organization, or by the plan. If none, compensation? (sources         compensation, for which the service provider excluding formula instead of
                person known to be       enter -0-.       other than plan or plan        plan received the required         eligible indirect      an amount or
                 a party-in-interest                             sponsor)                       disclosures?         compensation for which you estimated amount?
                                                                                                                     answered “Yes” to element
                                                                                                                        (f). If none, enter -0-.

               ABCDEFGHI              123456789012                                                                      123456789012345
               ABCDEFGHI                   345                  Yes   X No X                  Yes   X No X                                            Yes   X No X
               ABCD

                                                          (a) Enter name and EIN or address (see instructions)




      (b)               (c)                   (d)                     (e)                            (f)                           (g)                      (h)
     Service      Relationship to       Enter direct       Did service provider          Did indirect compensation        Enter total indirect    Did the service
     Code(s)    employer, employee compensation paid         receive indirect              include eligible indirect  compensation received by provider give you a
                  organization, or by the plan. If none, compensation? (sources         compensation, for which the service provider excluding formula instead of
                person known to be       enter -0-.       other than plan or plan        plan received the required         eligible indirect      an amount or
                 a party-in-interest                             sponsor)                       disclosures?         compensation for which you estimated amount?
                                                                                                                     answered “Yes” to element
                                                                                                                        (f). If none, enter -0-.

               ABCDEFGHI              123456789012
               ABCDEFGHI                   345                  Yes   X No X                  Yes   X No X                                            Yes   X No X
               ABCD
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            Schedule C (Form 5500) 2013                                                   Page 4- 1
                                                                                                  1    x




 Part I Service Provider Information (continued)
3 If you reported on line 2 receipt of indirect compensation, other than eligible indirect compensation, by a service provider, and the service provider is a fiduciary
  or provides contract administrator, consulting, custodial, investment advisory, investment management, broker, or recordkeeping services, answer the following
  questions for (a) each source from whom the service provider received $1,000 or more in indirect compensation and (b) each source for whom the service
  provider gave you a formula used to determine the indirect compensation instead of an amount or estimated amount of the indirect compensation. Complete as
  many entries as needed to report the required information for each source.
                       (a) Enter service provider name as it appears on line 2                                (b) Service Codes          (c) Enter amount of indirect
                                                                                                               (see instructions)                 compensation




               (d) Enter name and EIN (address) of source of indirect compensation                          (e) Describe the indirect compensation, including any
                                                                                                           formula used to determine the service provider’s eligibility
                                                                                                                for or the amount of the indirect compensation.




                       (a) Enter service provider name as it appears on line 2                                (b) Service Codes          (c) Enter amount of indirect
                                                                                                               (see instructions)                 compensation




               (d) Enter name and EIN (address) of source of indirect compensation                          (e) Describe the indirect compensation, including any
                                                                                                           formula used to determine the service provider’s eligibility
                                                                                                                for or the amount of the indirect compensation.




                       (a) Enter service provider name as it appears on line 2                                (b) Service Codes          (c) Enter amount of indirect
                                                                                                               (see instructions)                 compensation




               (d) Enter name and EIN (address) of source of indirect compensation                          (e) Describe the indirect compensation, including any
                                                                                                           formula used to determine the service provider’s eligibility
                                                                                                                for or the amount of the indirect compensation.
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          Schedule C (Form 5500) 2013                                                 Page 5- 1   x

 Part II Service Providers Who Fail or Refuse to Provide Information
4 Provide, to the extent possible, the following information for each service provider who failed or refused to provide the information necessary to complete
     this Schedule.
    (a) Enter name and EIN or address of service provider (see        (b) Nature of    (c) Describe the information that the service provider failed or refused to
                              instructions)                               Service                                       provide
                                                                          Code(s)
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                 10 11           ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                 12 13           ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                                 ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                                 ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                                 ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
1234567890                                                                             ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
    (a) Enter name and EIN or address of service provider (see       (b) Nature of     (c) Describe the information that the service provider failed or refused to
                           instructions)                                  Service                                       provide
                                                                          Code(s)
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                 10 11           ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                 12 13           ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                                 ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                                 ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                                 ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
1234567890                                                                             ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE

    (a) Enter name and EIN or address of service provider (see       (b) Nature of     (c) Describe the information that the service provider failed or refused to
                           instructions)                                  Service                                       provide
                                                                          Code(s)
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD               10 11 12          ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                 13              ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                                 ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                                 ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                                 ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
1234567890                                                                             ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE

    (a) Enter name and EIN or address of service provider (see       (b) Nature of     (c) Describe the information that the service provider failed or refused to
                           instructions)                                  Service                                       provide
                                                                          Code(s)
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD               10 11 12          ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                 13              ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                                 ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                                 ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                                 ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
1234567890                                                                             ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE

    (a) Enter name and EIN or address of service provider (see       (b) Nature of     (c) Describe the information that the service provider failed or refused to
                           instructions)                                  Service                                       provide
                                                                          Code(s)
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD               10 11 12          ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                 13              ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                                 ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                                 ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD                                 ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
1234567890                                                                             ABCDEFGHI        ABCDEFGHI        ABCDEFGHI        ABCDE
    (a) Enter name and EIN or address of service provider (see       (b) Nature of     (c) Describe the information that the service provider failed or refused to
                           instructions)                                  Service                                       provide
                                                                          Code(s)


ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD
ABCDEFGHI ABCDEFGHI              ABCDEFGHI        ABCD
1234567890
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                                                                               1   x

Part III    Termination Information on Accountants and Enrolled Actuaries (see instructions)
            (complete as many entries as needed)
a   Name:          ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD                    b EIN:    123456789
c   Position:      ABCDEFGHI      ABCDEFGHI        ABCD
d   Address:       ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD                   e Telephone: 1234567890
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD
Explanation:       ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                   ABCDEFGHI
a   Name:          ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD                    b EIN:    123456789
c   Position:      ABCDEFGHI      ABCDEFGHI        ABCD
d   Address:       ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD                   e Telephone: 1234567890
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD
Explanation:       ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                   ABCDEFGHI
a   Name:          ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD                    b EIN:    123456789
c   Position:      ABCDEFGHI      ABCDEFGHI        ABCD
d   Address:       ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD                   e Telephone: 1234567890
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD
Explanation:       ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                   ABCDEFGHI
a   Name:          ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD                    b EIN:    123456789
c   Position:      ABCDEFGHI      ABCDEFGHI        ABCD
d   Address:       ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD                   e Telephone: 1234567890
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD
Explanation:       ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                   ABCDEFGHI
a   Name:          ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD                    b EIN:    123456789
c   Position:      ABCDEFGHI      ABCDEFGHI        ABCD
d   Address:       ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD                   e Telephone: 1234567890
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCD
Explanation:       ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                   ABCDEFGHI      ABCDEFGHI        ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                   ABCDEFGHI
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        SCHEDULE D                                       DFE/Participating Plan Information                                              OMB No. 1210-0110
           (Form 5500)
         Department of the Treasury               This schedule is required to be filed under section 104 of the Employee                    2013
          Internal Revenue Service                          Retirement Income Security Act of 1974 (ERISA).

           Department of Labor                                   File as an attachment to Form 5500.
  Employee Benefits Security Administration                                                                                        This Form is Open to Public
                                                                                                                                           Inspection.

For calendar plan year 2013 or fiscal plan year beginning           07/01/2013                            and ending        06/30/2014
A Name of plan                                                                                        B Three-digit
YALE UNIVERSITY  RETIREMENT        ACCOUNT PLAN                                                                                            001
ABCDEFGHI      ABCDEFGHI          ABCDEFGHI       ABCDEFGHI ABCDEFGHI ABCDEFGHI                             plan number (PN)                  001
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI
C Plan or DFE sponsor’s name as shown on line 2a of Form 5500                                         D Employer Identification Number (EIN)
ABCDEFGHI
YALE UNIVERSITYABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                           012345678
                                                                                                            XX-XXXXXXX
ABCDEFGHI
  Part I Information on interests in MTIAs, CCTs, PSAs, and 103-12 IEs (to be completed by plans and DFEs)
           (Complete as many entries as needed to report all interests in DFEs)
 a Name of MTIA, CCT, PSA, or 103-12 IE: TIAA REAL   ABCDEFGHI
                                                        ESTATE      ABCDEFGHI ABCDEFGHI ABCD
                                                     ABCDEFGHI
                                              TIAA-CREF             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
 b Name of sponsor of entity listed in (a):
                                                     ABCDEFGHI
 c EIN-PN XX-XXXXXXX-004                 d Entity    P     e Dollar value of interest in MTIA, CCT, PSA, or
           123456789-123                             1                                                                              117154875
                                                                                                                               -123456789012345
                                            code             103-12 IE at end of year (see instructions)

a Name of MTIA, CCT, PSA, or 103-12 IE:                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                            ABCDEFGHI
c EIN-PN 123456789-123                        d Entity          e Dollar value of interest in MTIA, CCT, PSA, or
                                                 code       1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                            ABCDEFGHI
c EIN-PN 123456789-123                        d Entity          e Dollar value of interest in MTIA, CCT, PSA, or
                                                 code       1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                            ABCDEFGHI
c EIN-PN 123456789-123                        d Entity          e Dollar value of interest in MTIA, CCT, PSA, or
                                                 code       1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                            ABCDEFGHI
c EIN-PN 123456789-123                        d Entity          e Dollar value of interest in MTIA, CCT, PSA, or
                                                 code       1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                            ABCDEFGHI
c EIN-PN 123456789-123                        d Entity          e Dollar value of interest in MTIA, CCT, PSA, or
                                                 code       1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:                     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                            ABCDEFGHI
c EIN-PN 123456789-123                        d Entity          e Dollar value of interest in MTIA, CCT, PSA, or
                                                 code       1     103-12 IE at end of year (see instructions)    -123456789012345
For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500.                                          Schedule D (Form 5500) 2013
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a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
a Name of MTIA, CCT, PSA, or 103-12 IE:             ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
b Name of sponsor of entity listed in (a):
                                                    ABCDEFGHI
c EIN-PN 123456789-123                  d Entity        e Dollar value of interest in MTIA, CCT, PSA, or
                                             code   1     103-12 IE at end of year (see instructions)    -123456789012345
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    Part II     Information on Participating Plans (to be completed by DFEs)
                (Complete as many entries as needed to report all participating plans)
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI        ABCDEFGHI                                           123456789-123
                   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor    ABCDEFGHI ABCDEFGHI                                          123456789-123
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI        ABCDEFGHI                                           123456789-123
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI        ABCDEFGHI                                           123456789-123
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI        ABCDEFGHI                                           123456789-123
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI        ABCDEFGHI                                           123456789-123
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI        ABCDEFGHI                                           123456789-123
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI        ABCDEFGHI                                           123456789-123
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI        ABCDEFGHI                                           123456789-123
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI        ABCDEFGHI                                           123456789-123
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI        ABCDEFGHI                                           123456789-123
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    a Plan name
                          ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
    b Name of             ABCDEFGHI        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI c EIN-PN
      plan sponsor        ABCDEFGHI        ABCDEFGHI                                           123456789-123
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                                                                                                                                                                  OMB No. 1210-0110
          SCHEDULE H                                                                     Financial Information
             (Form 5500)                                                                                                                                              2013
           Department of the Treasury
                                                              This schedule is required to be filed under section 104 of the Employee
            Internal Revenue Service                        Retirement Income Security Act of 1974 (ERISA), and section 6058(a) of the
            Department of Labor
                                                                                Internal Revenue Code (the Code).
                                                                                                                                                           This Form is Open to Public
   Employee Benefits Security Administration
                                                                                       File as an attachment to Form 5500.                                        Inspection
     Pension Benefit Guaranty Corporation
For calendar plan year 2013 or fiscal plan year beginning 07/01/2013                                                              and ending      06/30/2014
A Name of plan                                                                                                                         B       Three-digit
YALE  UNIVERSITY    RETIREMENT      ACCOUNT PLAN
ABCDEFGHI       ABCDEFGHI         ABCDEFGHI        ABCDEFGHI ABCDEFGHI
                                                       ABCDEFGHI                                                                               plan number (PN)                  001   001
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                                                                                 D Employer Identification Number (EIN)
ABCDEFGHI
YALE UNIVERSITYABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                         012345678
ABCDEFGHI                                                                                                                                  XX-XXXXXXX

Part I     Asset and Liability Statement
1 Current value of plan assets and liabilities at the beginning and end of the plan year. Combine the value of plan assets held in more than one trust. Report
   the value of the plan’s interest in a commingled fund containing the assets of more than one plan on a line-by-line basis unless the value is reportable on
   lines 1c(9) through 1c(14). Do not enter the value of that portion of an insurance contract which guarantees, during this plan year, to pay a specific dollar
   benefit at a future date. Round off amounts to the nearest dollar. MTIAs, CCTs, PSAs, and 103-12 IEs do not complete lines 1b(1), 1b(2), 1c(8), 1g, 1h,
   and 1i. CCTs, PSAs, and 103-12 IEs also do not complete lines 1d and 1e. See instructions.
                                   Assets                                                                                         (a) Beginning of Year               (b) End of Year
a Total noninterest-bearing cash ......................................................................                  1a       -123456789012345                -123456789012345
b Receivables (less allowance for doubtful accounts):
     (1) Employer contributions..........................................................................               1b(1)     -123456789012345
                                                                                                                                             6704190              -123456789012345
                                                                                                                                                                            7123864
     (2) Participant contributions ........................................................................             1b(2)                6851906
                                                                                                                                  -123456789012345                          7530777
                                                                                                                                                                  -123456789012345
     (3) Other.....................................................................................................     1b(3)                3624749
                                                                                                                                  -123456789012345                           711262
                                                                                                                                                                  -123456789012345
c General investments:
     (1) Interest-bearing cash (include money market accounts & certificates
                                                                                                                        1c(1)
          of deposit)............................................................................................                 -123456789012345                -123456789012345
     (2) U.S. Government securities ..................................................................                  1c(2)     -123456789012345                -123456789012345
     (3) Corporate debt instruments (other than employer securities):
           (A) Preferred ........................................................................................      1c(3)(A)   -123456789012345                -123456789012345
           (B) All other ..........................................................................................    1c(3)(B)   -123456789012345                -123456789012345
     (4) Corporate stocks (other than employer securities):
           (A) Preferred ........................................................................................      1c(4)(A)   -123456789012345                -123456789012345
           (B) Common.........................................................................................         1c(4)(B)   -123456789012345                -123456789012345
     (5) Partnership/joint venture interests .........................................................                  1c(5)     -123456789012345                -123456789012345
     (6) Real estate (other than employer real property) .....................................                          1c(6)     -123456789012345                -123456789012345
     (7) Loans (other than to participants) ..........................................................                  1c(7)     -123456789012345                -123456789012345
     (8) Participant loans ....................................................................................         1c(8)     -123456789012345                -123456789012345
     (9) Value of interest in common/collective trusts .........................................                        1c(9)     -123456789012345                -123456789012345
    (10) Value of interest in pooled separate accounts .......................................                         1c(10)               94483826
                                                                                                                                  -123456789012345                -123456789012345
                                                                                                                                                                           117154875
    (11) Value of interest in master trust investment accounts ............................                            1c(11)     -123456789012345                -123456789012345
    (12) Value of interest in 103-12 investment entities .......................................                       1c(12)     -123456789012345                -123456789012345
    (13) Value of interest in registered investment companies (e.g., mutual
         funds)....................................................................................
                                                                                                                       1c(13)     -123456789012345
                                                                                                                                           2059892967             -123456789012345
                                                                                                                                                                          2541107582
    (14) Value of funds held in insurance company general account (unallocated
         contracts) ..............................................................................................
                                                                                                                       1c(14)     -123456789012345
                                                                                                                                           875155260              -123456789012345
                                                                                                                                                                           912298748
    (15) Other .....................................................................................................   1c(15)     -123456789012345                -123456789012345

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1d Employer-related investments:                                                                                                              (a) Beginning of Year     (b) End of Year
      (1) Employer securities ..................................................................................           1d(1)              -123456789012345        -123456789012345
      (2) Employer real property .............................................................................             1d(2)              -123456789012345        -123456789012345
1e Buildings and other property used in plan operation .......................................                              1e                -123456789012345        -123456789012345
1f Total assets (add all amounts in lines 1a through 1e) .....................................                               1f                      3046712898
                                                                                                                                              -123456789012345               3585927108
                                                                                                                                                                      -123456789012345
                                           Liabilities
1g Benefit claims payable....................................................................................               1g                -123456789012345        -123456789012345
1h Operating payables ........................................................................................              1h                -123456789012345        -123456789012345
1i Acquisition indebtedness ................................................................................                 1i               -123456789012345        -123456789012345
1j Other liabilities................................................................................................         1j                             0
                                                                                                                                              -123456789012345                      0
                                                                                                                                                                      -123456789012345
1k Total liabilities (add all amounts in lines 1g through1j) ....................................                           1k                              0
                                                                                                                                              -123456789012345                      0
                                                                                                                                                                      -123456789012345
                                         Net Assets
1l Net assets (subtract line 1k from line 1f) .........................................................                      1l               -123456789012345
                                                                                                                                                     3046712898              3585927108
                                                                                                                                                                      -123456789012345

 Part II Income and Expense Statement
2 Plan income, expenses, and changes in net assets for the year. Include all income and expenses of the plan, including any trust(s) or separately maintained
     fund(s) and any payments/receipts to/from insurance carriers. Round off amounts to the nearest dollar. MTIAs, CCTs, PSAs, and 103-12 IEs do not complete
     lines 2a, 2b(1)(E), 2e, 2f, and 2g.
                                                   Income                                                                                         (a) Amount               (b) Total
 a Contributions:
      (1) Received or receivable in cash from: (A) Employers.................................                             2a(1)(A)                    88383891
                                                                                                                                              -123456789012345
            (B) Participants ......................................................................................       2a(1)(B)                    85427041
                                                                                                                                              -123456789012345
            (C) Others (including rollovers) ...............................................................              2a(1)(C)                    19920950
                                                                                                                                              -123456789012345
      (2) Noncash contributions ..............................................................................             2a(2)              -123456789012345
      (3) Total contributions. Add lines 2a(1)(A), (B), (C), and line 2a(2).................                               2a(3)                                              193731882
                                                                                                                                                                      -123456789012345
 b Earnings on investments:
      (1) Interest:
          (A) Interest-bearing cash (including money market accounts and
               certificates of deposit).......................................................................
                                                                                                                          2b(1)(A)            -123456789012345
            (B) U.S. Government securities ..............................................................                 2b(1)(B)            -123456789012345
            (C) Corporate debt instruments ..............................................................                 2b(1)(C)            -123456789012345
            (D) Loans (other than to participants) .....................................................                  2b(1)(D)            -123456789012345
            (E) Participant loans ...............................................................................         2b(1)(E)            -123456789012345
            (F) Other ................................................................................................    2b(1)(F)                    37982319
                                                                                                                                              -123456789012345
            (G) Total interest. Add lines 2b(1)(A) through (F) ....................................                       2b(1)(G)                                             37982319
                                                                                                                                                                      -123456789012345
      (2) Dividends: (A) Preferred stock ..................................................................               2b(2)(A)            -123456789012345
            (B) Common stock..................................................................................            2b(2)(B)            -123456789012345
            (C) Registered investment company shares (e.g. mutual funds) .............                                    2b(2)(C)                         46456117
            (D) Total dividends. Add lines 2b(2)(A), (B), and (C)                                                         2b(2)(D)                                             46456117
                                                                                                                                                                      -123456789012345
      (3) Rents........................................................................................................    2b(3)                                      -123456789012345
      (4) Net gain (loss) on sale of assets: (A) Aggregate proceeds ......................                                2b(4)(A)            -123456789012345
            (B) Aggregate carrying amount (see instructions) ...................................                          2b(4)(B)            -123456789012345
            (C) Subtract line 2b(4)(B) from line 2b(4)(A) and enter result .................                              2b(4)(C)                                    -123456789012345
                                                                                                                                                                                    0
      (5) Unrealized appreciation (depreciation) of assets: (A) Real estate........................                       2b(5)(A)            -123456789012345
            (B) Other ................................................................................................    2b(5)(B)            -123456789012345
            (C) Total unrealized appreciation of assets.
                Add lines 2b(5)(A) and (B)................................................................
                                                                                                                          2b(5)(C)                                    -123456789012345
                                                                                                                                                                                    0
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                                                                                                                                                      (a) Amount            (b) Total
      (6) Net investment gain (loss) from common/collective trusts .........................                                2b(6)                                       -123456789012345
      (7) Net investment gain (loss) from pooled separate accounts .......................                                  2b(7)                                                10971194
                                                                                                                                                                        -123456789012345
      (8) Net investment gain (loss) from master trust investment accounts............                                      2b(8)                                       -123456789012345
      (9) Net investment gain (loss) from 103-12 investment entities ......................                                 2b(9)                                       -123456789012345
     (10) Net investment gain (loss) from registered investment
          companies (e.g., mutual funds).................................................................
                                                                                                                           2b(10)                                       -123456789012345
                                                                                                                                                                                381350125
 c Other income..................................................................................................             2c                                                  1944600
                                                                                                                                                                        -123456789012345
 d Total income. Add all income amounts in column (b) and enter total.....................                                    2d                                                672436237
                                                                                                                                                                        -123456789012345
                                        Expenses
 e Benefit payment and payments to provide benefits:
      (1) Directly to participants or beneficiaries, including direct rollovers ..............                              2e(1)                        123131233
                                                                                                                                                 -123456789012345
      (2) To insurance carriers for the provision of benefits.....................................                          2e(2)                          9915404
                                                                                                                                                 -123456789012345
      (3) Other ........................................................................................................    2e(3)                -123456789012345
      (4) Total benefit payments. Add lines 2e(1) through (3)..................................                             2e(4)                                               133046637
                                                                                                                                                                        -123456789012345
 f    Corrective distributions (see instructions) .......................................................                     2f                                        -123456789012345
 g    Certain deemed distributions of participant loans (see instructions) ................                                   2g                                        -123456789012345
 h    Interest expense .............................................................................................          2h                                        -123456789012345
 i    Administrative expenses: (1) Professional fees..............................................                          2i(1)                          167885
                                                                                                                                                 -123456789012345
      (2) Contract administrator fees.......................................................................                2i(2)                -123456789012345
      (3) Investment advisory and management fees..............................................                             2i(3)                -123456789012345
      (4) Other ........................................................................................................    2i(4)                            7505
                                                                                                                                                 -123456789012345
      (5) Total administrative expenses. Add lines 2i(1) through (4)........................                                2i(5)                                                  175390
                                                                                                                                                                        -123456789012345
 j Total expenses. Add all expense amounts in column (b) and enter total ........                                             2j                                                133222027
                                                                                                                                                                        -123456789012345
                  Net Income and Reconciliation
 k Net income (loss). Subtract line 2j from line 2d...........................................................                2k                                                539214210
                                                                                                                                                                        -123456789012345
 l Transfers of assets:
      (1) To this plan ...............................................................................................      2l(1)                                       -123456789012345
      (2) From this plan ..........................................................................................         2l(2)                                       -123456789012345

 Part III Accountant’s Opinion
3 Complete lines 3a through 3c if the opinion of an independent qualified public accountant is attached to this Form 5500. Complete line 3d if an opinion is not
     attached.
 a The attached opinion of an independent qualified public accountant for this plan is (see instructions):
       (1) X Unqualified        (2) X Qualified      (3) X Disclaimer         (4) X Adverse
 b Did the accountant perform a limited scope audit pursuant to 29 CFR 2520.103-8 and/or 103-12(d)?                                X Yes                                           X No
 c Enter the name and EIN of the accountant (or accounting firm) below:
        (1) Name: GRANT
                   ABCDEFGHI
                          THORNTON   ABCDEFGHI ABCDEFGHI ABCD                                       (2) EIN: XX-XXXXXXX
                                                                                                             123456789
 d The opinion of an independent qualified public accountant is not attached because:
        (1) X This form is filed for a CCT, PSA, or MTIA.    (2) X It will be attached to the next Form 5500 pursuant to 29 CFR 2520.104-50.

 Part IV Compliance Questions
4    CCTs and PSAs do not complete Part IV. MTIAs, 103-12 IEs, and GIAs do not complete lines 4a, 4e, 4f, 4g, 4h, 4k, 4m, 4n, or 5.
       103-12 IEs also do not complete lines 4j and 4l. MTIAs also do not complete line 4l.
       During the plan year:                                                                                                                               Yes     No       Amount
 a     Was there a failure to transmit to the plan any participant contributions within the time
       period described in 29 CFR 2510.3-102? Continue to answer “Yes” for any prior year failures
       until fully corrected. (See instructions and DOL’s Voluntary Fiduciary Correction Program.) .....                                             4a            X    -123456789012345
 b     Were any loans by the plan or fixed income obligations due the plan in default as of the
       close of the plan year or classified during the year as uncollectible? Disregard participant loans
       secured by participant’s account balance. (Attach Schedule G (Form 5500) Part I if “Yes” is
       checked.)..................................................................................................................................   4b            X    -123456789012345
                             Case 3:16-cv-01345-AWT Document 137-7 Filed 01/15/19 Page 20 of 43
            Schedule H (Form 5500) 2013                                                                                      Page 4- 1 X


                                                                                                                                                          Yes       No               Amount
 c    Were any leases to which the plan was a party in default or classified during the year as
      uncollectible? (Attach Schedule G (Form 5500) Part II if “Yes” is checked.) .............................                                      4c             X           -123456789012345
 d    Were there any nonexempt transactions with any party-in-interest? (Do not include transactions
      reported on line 4a. Attach Schedule G (Form 5500) Part III if “Yes” is
      checked.)..................................................................................................................................    4d             X           -123456789012345
 e    Was this plan covered by a fidelity bond? .................................................................................                    4e   X                     -123456789012345
                                                                                                                                                                                          10000000
 f    Did the plan have a loss, whether or not reimbursed by the plan’s fidelity bond, that was caused
      by fraud or dishonesty? ...........................................................................................................            4f             X           -123456789012345
 g    Did the plan hold any assets whose current value was neither readily determinable on an
      established market nor set by an independent third party appraiser? ........................................                                   4g             X           -123456789012345
 h    Did the plan receive any noncash contributions whose value was neither readily
      determinable on an established market nor set by an independent third party appraiser?.........                                                4h             X           -123456789012345
 i    Did the plan have assets held for investment? (Attach schedule(s) of assets if “Yes” is checked,
      and see instructions for format requirements.) ..........................................................................                      4i   X
 j    Were any plan transactions or series of transactions in excess of 5% of the current
      value of plan assets? (Attach schedule of transactions if “Yes” is checked, and
      see instructions for format requirements.) .................................................................................                   4j             X
 k    Were all the plan assets either distributed to participants or beneficiaries, transferred to another
      plan, or brought under the control of the PBGC? ......................................................................                         4k             X

 l Has the plan failed to provide any benefit when due under the plan?........................................                                       4l             X           -123456789012345
 m If this is an individual account plan, was there a blackout period? (See instructions and 29 CFR
      2520.101-3.) .............................................................................................................................    4m              X

 n    If 4m was answered “Yes,” check the “Yes” box if you either provided the required notice or one
      of the exceptions to providing the notice applied under 29 CFR 2520.101-3. ............................                                        4n
5a Has a resolution to terminate the plan been adopted during the plan year or any prior plan year?
      If “Yes,” enter the amount of any plan assets that reverted to the employer this year...........................                              X Yes X No     Amount:-123

5b    If, during this plan year, any assets or liabilities were transferred from this plan to another plan(s), identify the plan(s) to which assets or liabilities were
      transferred. (See instructions.)


      5b(1) Name of plan(s)                                                                                                                                      5b(2) EIN(s)             5b(3) PN(s)
      ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                         123456789                     123
      ABCDEFGHI ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI
      ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI


ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                     123456789                     123
     ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
     ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                     123456789                     123
     ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
     ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                     123456789                     123
     ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
     ABCDEFGHI ABCDEFGHI ABCDEFGHI
 5c If the plan is a defined benefit plan, is it covered under the PBGC insurance program (see ERISA section 4021)? ..... X Yes X No X Not determined

Part V    Trust Information (optional)
6a Name of trust ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                        6b Trust’s EIN
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
Case 3:16-cv-01345-AWT Document 137-7 Filed 01/15/19 Page 21 of 43




                                                                                     Grant Thornton LLP
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     Yale University Retirement Account Plan

     We were engaged to audit the accompanying financial statements of Yale University Retirement
     Account Plan (the “Plan”), which comprise the statements of net assets available for benefits as
     of June 30, 2014 and the related statement of changes in net assets available for benefits for the
     year then ended and the related notes to the financial statements.

     Management's responsibility for the financial statements
     Management is responsible for the preparation and fair presentation of these financial statements
     in accordance with accounting principles generally accepted in the United States of America; this
     includes the design, implementation, and maintenance of internal control relevant to the
     preparation and fair presentation of financial statements that are free from material misstatement,
     whether due to fraud or error.

     Auditor’s responsibility
     Our responsibility is to express an opinion on these financial statements based on conducting the
     audit in accordance with auditing standards generally accepted in the United States of America.
     Because of the matters described in the Basis for Disclaimer of Opinion paragraph, however, we
     were not able to obtain sufficient appropriate audit evidence to provide a basis for an audit
     opinion.

     Basis for disclaimer of opinion
     As permitted by 29 CFR 2520.103-8 of the Department of Labor’s Rules and Regulations for
     Reporting and Disclosure under the Employee Retirement Income Security Act of 1974, the Plan
     administrator instructed us not to perform, and we did not perform, any auditing procedures with
     respect to the certified information described in Note 7. We have been informed by the Plan
     administrator that the certifying entities meet the requirements of 29 CFR 2520.103-8. The Plan
     administrator obtained certifications from these entities as of June 30, 2014, and for the year then
     ended stating that the certified information provided to the Plan administrator is complete and
     accurate.




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                                                                                                       2




     The Plan has not maintained sufficient accounting records and supporting documents relating to
     certain contracts and custodial accounts issued to current and former employees prior to July 1,
     2009. Accordingly, we were unable to apply auditing procedures sufficient to determine the extent
     to which the financial statements may have been affected by these conditions.

     Disclaimer of opinion
     Because of the significance of the matters described in the Basis for Disclaimer of Opinion
     paragraph, we have not been able to obtain sufficient appropriate audit evidence to provide a
     basis for an audit opinion. Accordingly, we do not express an opinion on these financial
     statements.

     Other matter
     The financial statements of the Plan as of and for the year ended June 30, 2013 (statement of
     changes not presented) were audited by other auditors. As permitted by 29 CFR 2520.103-8 of
     the Department of Labor’s Rules and Regulations for Reporting and Disclosure under the
     Employee Retirement Income Security Act of 1974 (“ERISA”), the plan administrator instructed
     the other auditors not to perform, and they did not perform, any auditing procedures with respect
     to the certified information. Their report, dated April 3, 2014, indicated that the Plan has not
     maintained sufficient accounting records and supporting documents relating to certain contracts
     and custodial accounts issued to current and former employees prior to July 1, 2009. Because of
     the significance of the information that the other auditors did not audit and because they were
     unable to apply auditing procedures to satisfy themselves as to the appropriateness and
     completeness of the Plan’s net assets available for benefits and changes in net assets available for
     benefits, they were unable to, and did not, express an opinion on the 2013 financial statements.

     Supplementary information
     The supplemental schedule of Schedule of Assets (held at end of year) is presented for purposes
     of additional analysis and is not a required part of the financial statements, but is supplementary
     information required by the Department of Labor’s Rules and Regulations for Reporting and
     Disclosure under the Employee Retirement Income Security Act of 1974. Because of the
     significance of the matters described in the Basis for Disclaimer of Opinion paragraph, we do
     not express an opinion on the supplemental schedule.




     Boston, Massachusetts
     April 6, 2015
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                          YALE UNIVERSITY
                     RETIREMENT ACCOUNT PLAN

                      FINANCIAL STATEMENTS
                     and Supplemental Schedule

                       June 30, 2014 and 2013
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                                         YALE UNIVERSITY
                                    RETIREMENT ACCOUNT PLAN

                                      FINANCIAL STATEMENTS
                                     and Supplemental Schedule

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Independent Auditor’s Report                                                    1‐2

Financial Statements:

   Statements of Net Assets Available for Benefits
       as of June 30, 2014 and 2013                                             3

   Statements of Changes in Net Assets Available for Benefits
      for the year ended June 30, 2014 and 2013                                 4

Notes to Financial Statements                                                  5‐13

Supplemental Schedule:

   Form 5500, Schedule H, Line 4i – Schedule of Assets (Held at End of Year)
     as of June 30, 2014                                                       14‐16
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     Trustees                                                                        twitter.com/GrantThorntonUS

     Yale University Retirement Account Plan

     We were engaged to audit the accompanying financial statements of Yale University Retirement
     Account Plan (the “Plan”), which comprise the statements of net assets available for benefits as
     of June 30, 2014 and the related statement of changes in net assets available for benefits for the
     year then ended and the related notes to the financial statements.

     Management's responsibility for the financial statements
     Management is responsible for the preparation and fair presentation of these financial statements
     in accordance with accounting principles generally accepted in the United States of America; this
     includes the design, implementation, and maintenance of internal control relevant to the
     preparation and fair presentation of financial statements that are free from material misstatement,
     whether due to fraud or error.

     Auditor’s responsibility
     Our responsibility is to express an opinion on these financial statements based on conducting the
     audit in accordance with auditing standards generally accepted in the United States of America.
     Because of the matters described in the Basis for Disclaimer of Opinion paragraph, however, we
     were not able to obtain sufficient appropriate audit evidence to provide a basis for an audit
     opinion.

     Basis for disclaimer of opinion
     As permitted by 29 CFR 2520.103-8 of the Department of Labor’s Rules and Regulations for
     Reporting and Disclosure under the Employee Retirement Income Security Act of 1974, the Plan
     administrator instructed us not to perform, and we did not perform, any auditing procedures with
     respect to the certified information described in Note 7. We have been informed by the Plan
     administrator that the certifying entities meet the requirements of 29 CFR 2520.103-8. The Plan
     administrator obtained certifications from these entities as of June 30, 2014, and for the year then
     ended stating that the certified information provided to the Plan administrator is complete and
     accurate.




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     The Plan has not maintained sufficient accounting records and supporting documents relating to
     certain contracts and custodial accounts issued to current and former employees prior to July 1,
     2009. Accordingly, we were unable to apply auditing procedures sufficient to determine the extent
     to which the financial statements may have been affected by these conditions.

     Disclaimer of opinion
     Because of the significance of the matters described in the Basis for Disclaimer of Opinion
     paragraph, we have not been able to obtain sufficient appropriate audit evidence to provide a
     basis for an audit opinion. Accordingly, we do not express an opinion on these financial
     statements.

     Other matter
     The financial statements of the Plan as of and for the year ended June 30, 2013 (statement of
     changes not presented) were audited by other auditors. As permitted by 29 CFR 2520.103-8 of
     the Department of Labor’s Rules and Regulations for Reporting and Disclosure under the
     Employee Retirement Income Security Act of 1974 (“ERISA”), the plan administrator instructed
     the other auditors not to perform, and they did not perform, any auditing procedures with respect
     to the certified information. Their report, dated April 3, 2014, indicated that the Plan has not
     maintained sufficient accounting records and supporting documents relating to certain contracts
     and custodial accounts issued to current and former employees prior to July 1, 2009. Because of
     the significance of the information that the other auditors did not audit and because they were
     unable to apply auditing procedures to satisfy themselves as to the appropriateness and
     completeness of the Plan’s net assets available for benefits and changes in net assets available for
     benefits, they were unable to, and did not, express an opinion on the 2013 financial statements.

     Supplementary information
     The supplemental schedule of Schedule of Assets (held at end of year) is presented for purposes
     of additional analysis and is not a required part of the financial statements, but is supplementary
     information required by the Department of Labor’s Rules and Regulations for Reporting and
     Disclosure under the Employee Retirement Income Security Act of 1974. Because of the
     significance of the matters described in the Basis for Disclaimer of Opinion paragraph, we do
     not express an opinion on the supplemental schedule.




     Boston, Massachusetts
     April 6, 2015
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                                         YALE UNIVERSITY
                                    RETIREMENT ACCOUNT PLAN

                       STATEMENTS OF NET ASSETS AVAILABLE FOR BENEFITS
                                 as of June 30, 2014 and 2013
                                         (in thousands)




                                                                          2014                2013
ASSETS
Investments, at fair value                                              $3,570,561           $3,029,532

Receivables:
  Employer contributions                                                     7,124               6,704
  Participant contributions                                                  7,531               6,852
  Receivable from other employer‐sponsored plans, net                          711               3,625
     Total receivables                                                      15,366              17,181

Net assets available for benefits                                       $3,585,927           $3,046,713




                The accompanying notes are an integral part of these financial statements.

                                                    3
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                                          YALE UNIVERSITY
                                     RETIREMENT ACCOUNT PLAN

               STATEMENTS OF CHANGES IN NET ASSETS AVAILABLE FOR BENEFITS
                         for the year ended June 30, 2014 and 2013
                                        (in thousands)



                                                                         2014                 2013

ADDITIONS:
 Additions to net assets attributed to:
  Investment and other income:
    Net appreciation in fair value of investments                      $ 392,147             $ 248,650
    Interest and dividend income                                          84,438                61,790
     Other income                                                          1,945                 3,728
       Total investment and other income                                 478,530               314,168
  Contributions:
    Employer                                                               88,383               83,519
    Participant                                                            85,427               79,812
    Rollovers                                                              19,920                5,583
       Total contributions                                                193,730              168,914
       Total additions                                                    672,260              483,082

DEDUCTIONS:
 Deductions from net assets attributed to:
  Benefits paid:
    To participants, beneficiaries or other providers                     123,131              123,763
    To insurance carriers for the provision of benefits                     9,915                8,931
      Total deductions                                                    133,046              132,694
      Net increase                                                        539,214              350,388

Net assets available for benefits:
 Beginning of year                                                     3,046,713              2,696,325
 End of year                                                          $3,585,927             $3,046,713




                The accompanying notes are an integral part of these financial statements.

                                                    4
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                                         YALE UNIVERSITY
                                    RETIREMENT ACCOUNT PLAN

                                NOTES TO FINANCIAL STATEMENTS
                                         ____________

1. Description of Plan

   The following description of the Yale University Retirement Account Plan (the “Plan”) provides only
   general information. Plan participants should refer to the Plan document for more complete
   information.

       General
       The Plan is a defined contribution plan covering eligible employees of Yale University (the
       “University” or “Plan Administrator”) who have completed at least one hour of employment.
       Eligible employees (“Participants”) include (i) faculty, (ii) officers or senior administrators, (iii)
       managerial and professional staff not currently participating in the Yale University Retirement
       Plan for Staff Employees, and (iv) other employees who upon invitation by the University may
       participate in the Plan. The Plan is subject to the provisions of the Employee Retirement Income
       Security Act of 1974 (“ERISA”), as amended.

       Contributions
       Participants may elect to contribute up to 75 percent (prior to 7/1/2011, the maximum was 50
       percent) of compensation, as defined by the Plan. In addition, employee and employer
       contributions are subject to limitations as defined by the Internal Revenue Code (“IRC”).

       Effective beginning July 1, 2010 and each July thereafter, a participant’s contribution percentage
       is automatically increased by 1 percent to a maximum of 10 percent, if the participant is
       contributing between 5 percent and 9.5 percent. If the employee is contributing between 0
       percent and 4.5 percent, the increase will be to 5 percent. A participant can suspend or reduce
       contributions at any time; however, a refund of contributions made as part of the automatic
       escalation feature is not available.

       Participants direct the investment of their contributions into investment options offered by the
       Plan. The Plan currently offers mutual funds, an insurance company general contract and a
       pooled separate real estate account as investment options for Participants. It is the
       Participant’s responsibility to designate the investment fund(s) offered by Teachers Insurance
       Vanguard Target Retirement Fund. These target retirement funds, also known as “qualified
       default investment alternatives” as described by ERISA, will remain in effect until superseded by
       and Annuity Association ‐ College Retirement Equities Fund (“TIAA‐CREF”) and Vanguard
       Fiduciary Trust Company (“Vanguard”), in which his or her Plan contributions are to be invested.
       Upon enrollment, if the Participant does not designate an investment company, contributions
       are automatically directed to a TIAA‐CREF Lifecycle Fund. In the event a Participant selects an
       investment company but fails to direct the investment of his or her Plan contributions, the
       Participant’s contributions are automatically invested in either a TIAA‐CREF Lifecycle Fund or a
                                                     5
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                                         YALE UNIVERSITY
                                    RETIREMENT ACCOUNT PLAN

                         NOTES TO FINANCIAL STATEMENTS, Continued
                                      _____________

1. Description of Plan, Continued

       subsequent election by the Participant. Participants may change elections with regard to future
       Plan contributions; and may reallocate the balance of his or her account among investment
       funds and contracts, as well as between TIAA‐CREF and Vanguard.

       For each month during which a Participant is an eligible employee, the University makes a Core
       Contribution to the Participant’s account of 5 percent of the eligible employee’s basic
       compensation below the Social Security Wage Base (“SSWB”) and 7.5% of the eligible
       employee’s basic compensation above the SSWB. Additionally, the University matches the
       eligible employee’s contribution dollar for dollar up to 5 percent of the Participant’s basic
       compensation. Basic compensation is compensation which generally excludes additional or
       supplementary earnings, as described by the provisions of the Plan.

       Participants may also contribute amounts representing eligible rollover distributions as defined
       by the IRC. Deposits of such rollover distribution amounts are subject to the provisions of the
       Plan document. Rollover contributions are not matched by the University.

       Participant Accounts
       Separate accounts are established for each Participant. The current value of a Participant’s
       account includes all Plan contributions and credited investment experience less Plan expenses.
       The benefit to which a Participant is entitled is the benefit that can be provided from the
       Participant’s vested account.

       Vesting
       A Participant is immediately vested in 100% of their contributions, the University core and
       matching contributions and the earnings of their account.

       Loans to Participants
       Participants may borrow in accordance with the Plan’s loan program which is administered by
       TIAA‐CREF. Loans are issued directly from general assets of TIAA‐CREF and not directly from a
       Participant’s account. Loans are granted for a minimum of $1,000 up to a maximum of $50,000.
       The maximum term of a loan is 5 years, or 10 years if the loan is for the purchase of a primary
       residence. Collateral representing 110 percent of the outstanding loan is required by reserving
       the Participant’s account balance and is included in investments in the accompanying
       Statements of Net Assets Available for Benefits. The interest rate may be fixed or variable; and
       loans outstanding at June 30, 2014 and June 30, 2013 bear interest at rates that range from 4.07
       percent to 6.85 percent and 4.00 percent to 6.85 percent, respectively. Loans of $8.2 million
       and $6.6 million were outstanding at June 30, 2014 and June 30, 2013, respectively. Loans in
       default were $305,213 and $210,731 at June 30, 2014 and June 30, 2013, respectively.
                                                  6
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                                         YALE UNIVERSITY
                                    RETIREMENT ACCOUNT PLAN

                         NOTES TO FINANCIAL STATEMENTS, Continued
                                      _____________

1. Description of Plan, Continued

       Payment of Benefits
       Upon termination of service, retirement, death, or disability, distribution of benefits to
       Participants or beneficiaries will be made based on the provisions of the Plan. The form of the
       payment is based on Participant elections, as outlined in the provisions of the Plan; and may
       include annuities, installment payments, minimum distribution payments and lump sum
       payments.

       Benefits provided by the Plan are not insured or guaranteed.

2. Summary of Accounting Policies

   Basis of Accounting
   The financial statements of the Plan are prepared using the accrual basis of accounting.

   Use of Estimates
   The preparation of the Plan’s financial statements in conformity with accounting principles generally
   accepted in the United States of America requires the Plan Administrator to make estimates and
   assumptions that affect the reported amounts of net assets available for benefits as of the date of
   the financial statements and the changes in net assets available for benefits during the reporting
   period. Actual results could differ materially from those estimates.

   Risks and Uncertainties
   The Plan provides for various investment options. Investment securities are exposed to various
   risks, such as interest rate, market and credit risks. Due to the level of risk associated with
   investment securities, it is at least reasonably possible that changes in the values of investment
   securities will occur in the near term and that such changes could materially affect Participants’
   account balances and the amounts reported in the statements of net assets available for benefits
   and changes in net assets available for benefits.

   Investment Valuation and Income Recognition
   Investments are reported at fair value.

   Registered investment company investments are stated at fair value based on net asset value as
   determined by quoted market prices available on the last day of the Plan year. The fair value of the
   TIAA Traditional Annuities approximates the contract value. The contract value equals the
   accumulated cash contributions and interest credited to the Plan’s contracts less any withdrawals.
   The TIAA Real Estate Pooled Separate Account derives its value from the market value of the
   underlying real estate holdings, other real estate‐related investments or securities. The real estate
                                                   7
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                                        YALE UNIVERSITY
                                   RETIREMENT ACCOUNT PLAN

                         NOTES TO FINANCIAL STATEMENTS, Continued
                                      _____________

2. Summary of Accounting Policies, Continued

   holdings are valued using external appraisals; and the securities are generally priced using values
   obtained from independent pricing sources. Unit values of the TIAA Real Estate Pooled Separate
   Account are calculated daily.

   Purchases and sales of securities are recorded on a trade‐date basis. Interest income is recorded as
   earned on an accrual basis. Dividend income is recorded on the ex‐dividend date.

   The Plan presents in the statements of changes in net assets available for benefits the net
   appreciation (depreciation) in fair value of investments, which consists of both realized gains (losses)
   on investments bought and sold, as well as unrealized gains (losses) on investments held during the
   year.

   Payment of Benefits
   Benefits are recorded when paid.

   Administrative Expenses
   Administrative expenses of the Plan shall be paid by the Plan unless paid by the University. Such
   expenses include any expenses incident to the functioning of the Plan Administrator, including, but
   not limited to, accountants’ fees, legal fees, and other costs of administering the Plan. Effective
   April 2013, expenses deemed reasonable and necessary for the administration and maintenance of
   the Plan are being paid using funds from the Plan’s Revenue Credit Account (“RCA”).

   As a result of the University’s negotiations with TIAA‐CREF regarding its fees, $1.9 million and $3.7
   million was returned to the Plan as deposits into the RCA for the year ended June 30, 2014 and June
   30, 2013, respectively. These deposits are reflected as other income in the accompanying
   Statements of Changes in Net Assets Available for Benefits. Within the 12‐month period following
   each deposit into the RCA, the funds are expected to be utilized to pay expenses of the Plan or
   credited to Plan participant accounts in the form of revenue credits. The revenue credits may be on
   a per capita or pro rata basis at the election of the Plan Sponsor.

   During the plan year ended June 30, 2014 and June 30, 2013, administrative expenses of $167,885
   and $105,796, respectively, were paid by the Plan using RCA funds. These expenses are included in
   net appreciation in fair value of investments. Funds remaining in the RCA are considered assets of
   the Plan; and are included in investments in the accompanying Statements of Net Assets Available
   for Benefits. As of June 30, 2014 and June 30, 2013, the balance in the RCA was $2.9 million and
   $3.7 million, respectively. In December 2014 and December 2013, $3.0 million was credited to Plan
   participant accounts.


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                                                YALE UNIVERSITY
                                           RETIREMENT ACCOUNT PLAN

                              NOTES TO FINANCIAL STATEMENTS, Continued
                                           _____________

3. Investments

   Investments are reported at fair value.

   Fair value is a market based measurement based on assumptions that market participants would
   use in pricing an asset or liability. As a basis for considering assumptions, a three‐tier hierarchy has
   been established which prioritizes the inputs used in measuring fair value. The hierarchy of inputs
   used to measure fair value includes:

            Level 1 – Quoted prices for identical assets in active markets. Market price data is generally
             obtained from relevant exchange or dealer markets.
            Level 2 – Inputs, other than quoted prices in active markets, that are observable either
             directly or indirectly, such as quoted prices for similar assets, quoted prices in markets that
             are not active, or other inputs that are observable.
            Level 3 – Unobservable inputs in which there is little or no market data, requiring the Plan
             Administrator to develop its own assumptions.


   The following table sets forth by level, within the fair value hierarchy, the Plan’s assets at fair value
   as of June 30, 2014, in thousands of dollars:


                                                       Level 1           Level 2           Level 3           Total

      Registered Investment Companies:
           Domestic Stock Funds                    $    1,462,082    $             ‐   $             ‐   $   1,462,082
           Balanced Funds                                  505,135                 ‐                 ‐         505,135
           Bond Funds                                      221,587                 ‐                 ‐         221,587
           International Stock Funds                       227,288                 ‐                 ‐         227,288
           Money Market Funds                               73,463                 ‐                 ‐          73,463
           Other Funds                                      51,552                 ‐                 ‐          51,552
           Total registered investment companies        2,541,107                  ‐                 ‐       2,541,107
      TIAA Traditional Annuity Contracts                         ‐                 ‐         912,299           912,299
      TIAA Real Estate Pooled Separate Account                   ‐         117,155                   ‐         117,155
      Total investments, at fair value             $    2,541,107    $     117,155     $     912,299     $   3,570,561




                                                       9
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                                              YALE UNIVERSITY
                                         RETIREMENT ACCOUNT PLAN

                           NOTES TO FINANCIAL STATEMENTS, Continued
                                        _____________

3. Investments, Continued

   The following table sets forth by level, within the fair value hierarchy, the Plan’s assets at fair value
   as of June 30, 2013, in thousands of dollars:

                                                               Level 1             Level 2           Level 3            Total

      Registered Investment Companies:
          Domestic Stock Funds                        $         1,192,166      $             ‐   $              ‐   $   1,192,166
          Balanced Funds                                          363,035                    ‐                  ‐         363,035
          Bond Funds                                              213,556                    ‐                  ‐         213,556
          International Stock Funds                               179,252                    ‐                  ‐         179,252
          Money Market Funds                                       69,440                    ‐                  ‐          69,440
          Other Funds                                              42,444                    ‐                  ‐          42,444
          Total registered investment companies                 2,059,893                    ‐                  ‐       2,059,893
      TIAA Traditional Annuity Contracts                                   ‐                 ‐        875,155             875,155
      TIAA Real Estate Pooled Separate Account                             ‐         94,484                     ‐          94,484
      Total investments, at fair value                $         2,059,893      $     94,484      $    875,155       $   3,029,532


   The TIAA Traditional Annuities provide a guarantee of principal, a guaranteed minimum interest rate
   of 3%, and the potential for additional interest, if declared by the TIAA Board of Trustees. The TIAA
   Traditional Annuities include both benefit responsive and non‐benefit responsive investment
   contracts. Holdings within illiquid contracts are non‐benefit responsive. The fair value of non‐
   benefit responsive investment contracts held at June 30, 2014 and June 30, 2013 was $912.0 million
   and $874.9 million, respectively. The TIAA Traditional Annuity Contract – non‐benefit responsive
   average yield for the year ended June 30, 2014 and June 30, 2013 was 4.25% and 4.08%,
   respectively. The TIAA Traditional Annuity Contract – benefit responsive average yield for the year
   ended June 30, 2014 and June 30, 2013 was 3.60% and 4.08%, respectively.

   The following table summarizes the Plan’s Level 3 investments at June 30, 2014 for which the fair
   value is based on unobservable inputs, the valuation techniques used to measure fair value of those
   investments, and the ranges of values for the unobservable inputs.

                     Fair Value (in 000's)
     Asset Class       2014         2013     Valuation Technique         Significant Unobservable Input                Range
   TIAA             $ 912,299 $ 875,155      Discounted cash flow        Risk‐adjusted discount rate           RA ‐ 3.00% ‐ 5.00%
   Traditional                                                           applied                               GRA ‐ 3.00% ‐ 5.00%
   Annuity                                                                                                     GSRA ‐ 3.00% ‐ 4.25%



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                                                  YALE UNIVERSITY
                                             RETIREMENT ACCOUNT PLAN

                               NOTES TO FINANCIAL STATEMENTS, Continued
                                            _____________

3. Investments, Continued

   The following table sets forth a summary of the change in fair value for the Plan’s Level 3 assets for
   the year ended June 30, in thousands of dollars:

                                                                                         2014                      2013
    Beginning balance                                                                    $ 875,155                $ 856,800
    Interest                                                                                 37,982                    35,311
    Purchases                                                                               105,647                   113,060
    Sales                                                                                 (106,485)                 (130,016)
    Ending balance                                                                       $ 912,299                $ 875,155

   The following table sets forth significant terms of the level 2 and level 3 investments:

                                                                             Trade to
                                  Fair Value (in 000's)     Redemption     Settlement                        Redemption
           Investment             2014            2013       Frequency        Terms                          Restrictions
   TIAA Traditional Annuity:
     Non‐Benefit Responsive     $ 911,994      $ 874,944    Not allowed    1 to 3 days     For Retirement Annuity contracts, lump‐sum cash
                                                             except as                     withdrawals are not allowed and transfers must
                                                             noted per                     be spread over 10 annual installments. For Group
                                                            redemption                     Retirement Annuity contracts, lump‐sum
                                                            restrictions                   withdrawals are available only within 120 days
                                                                                           after termination of employment and are subject
                                                                                           to a surrender charge. All other withdrawals and
                                                                                           transfers from the account must be spread over
                                                                                           10 annual installments (over 5 years for
                                                                                           withdrawals after termination of employment).

     Benefit Responsive               305             211    Allowed       1 to 3 days     Transfers and withdrawals are allowed.
                                                              without
                                                            restrictions


   TIAA Real Estate Pooled        117,155          94,484   Daily not to   1 to 3 days     Transfers out of the Real Estate Account are
   Separate Account                                         exceed 1 per                   limited to one per calendar quarter.
                                                              calendar
                                                               quarter
                                $1,029,454     $ 969,639




   The following presents individual investments that represent 5 percent or more of the Plan’s net
   assets as of June 30, in thousands of dollars:
                                                                                                2014                     2013
    TIAA Traditional Annuity Contracts – Non‐benefit responsive                              $ 911,994                $ 874,945
    CREF Stock                                                                                 780,008                  672,198
                                                              11
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                                         YALE UNIVERSITY
                                    RETIREMENT ACCOUNT PLAN

                         NOTES TO FINANCIAL STATEMENTS, Continued
                                      _____________

3. Investments, Continued

   The fair value of the Plan’s investments appreciated (depreciated) in value as follows for the year
   ended June 30, in thousands of dollars:
                                                                             2014               2013
    Registered Investment Companies                                         $ 381,176         $ 241,565
    TIAA Real Estate Pooled Separate Account                                   10,971             7,085
                                                                            $ 392,147         $ 248,650

4. Related‐Party Transactions

   TIAA‐CREF and Vanguard are approved by the Plan Administrator to issue or establish contracts on
   behalf of Participants. The Plan investments are managed by TIAA‐CREF or Vanguard. Certain
   investments incur operating expenses such as management, administrative, marketing and
   distribution fees. These operating expenses and participant recordkeeping services provided by
   TIAA‐CREF and Vanguard qualify as party‐in‐interest transactions and are reported as part of the
   investment return.

   Receivable from and/or payable to other employer‐sponsored plans, net, represents participant‐
   requested transfers to and from other University‐sponsored plans that have not been completed by
   the year ended June 30.

5. Plan Termination

   Although it has not expressed any intent to do so, the University has the right to terminate the Plan
   and discontinue contributions completely at any time subject to the provisions of ERISA. Upon
   termination of the Plan, the University has the right to distribute the balance of Participants’
   accounts in a lump sum, if permitted under the terms of the contracts, or by delivery of a fully paid
   annuity contract as permitted under Treasury regulations.

6. Tax Status

   The Plan is intended to satisfy the requirements of Section 403(b) of the Internal Revenue Code (the
   “IRC”) so that any earnings on employer and participant contributions to the Plan are exempt from
   taxes, but are taxable to Plan participants upon distribution. In accordance with Section 403(b) of
   the IRC, all assets of the Plan are held in annuity contracts described in Section 403(b)(1) of the IRC
   or custodial accounts described in Section 403(b)(7) of the IRC. To the best of the Plan
   Administrator’s knowledge, the Plan is and has been administered in accordance with the
   requirements of Section 403(b) of the IRC and, therefore, any earnings on amounts invested in the
   Plan’s investment vehicles are not subject to tax at the Plan level.

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                                        YALE UNIVERSITY
                                   RETIREMENT ACCOUNT PLAN

                         NOTES TO FINANCIAL STATEMENTS, Continued
                                      _____________

7. Summary of Information Certified

   TIAA‐CREF and Vanguard, as of June 30, 2014 and 2013, and for the years ended June 30, 2014 and
   2013, have certified to the Plan Administrator the following information as complete and accurate.

   Investments
    The fair value of investments, by fund and in the aggregate, and the listing of all purchases and
       sales activity, including realized gains and losses.

   Investment Income
    The amount of interest and dividend income received, and the components of net appreciation
       (depreciation) in the fair value of investments, by fund and in the aggregate.

   Supplemental Schedule
    The information provided on Schedule H, Line 4(i) – Schedule of Assets (Held at End of Year) as
      of June 30, 2014.

   This information was relied upon by the Plan Administrator in the preparation of the Plan’s financial
   statements and related supplemental schedule in accordance with ERISA.

8. Records

   In November 2007, the Department of Labor (“DOL”) issued amended regulations eliminating an
   exemption granted to 403(b) plans from the annual Form 5500 reporting and disclosure
   requirements under Part 1 of Subtitle B of Title I of the Employee Retirement Income Security Act of
   1974, as amended. Prior to the amended regulations, the Plan was not viewed as a separate
   reporting entity. The regulations were effective for plan years beginning on or after July 1, 2009.
   Accordingly, certain records are not available from the inception of the Plan, and the effect, if any,
   on the completeness or accuracy of the Plan’s financial statements cannot be determined.

9. Subsequent Events

   Management has completed its evaluation of potential events and is not aware of any matters
   which would require adjustment or disclosure in the accompanying financial statements. This
   evaluation was completed through April 6, 2015, the date the financial statements were issued.




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                                                               YALE UNIVERSITY
                                                          RETIREMENT ACCOUNT PLAN

                                    FORM 5500, SCHEDULE H, LINE 4i –
                       SCHEDULE OF ASSETS (HELD AT END OF YEAR) AS OF JUNE 30, 2014


                                                                      (c) Description of investment including
                                                                     maturity date, rate of interest, collateral,
(a)     (b) Identity of issue, borrower, lessor, or similar party              par or maturity value                (d) Cost       (e) Current value


      Insurance Company General Contract Account
*      TIAA Traditional Annuity Contract               Non‐Benefit Responsive                                         **       $           911,993,535
*      TIAA Traditional Annuity Contract               Benefit Responsive                                             **                       305,213
      Total Insurance Company General Contract Account                                                                                     912,298,748

      Pooled Separate Account                                                                                                              117,154,875
*      TIAA Real Estate                                             Pooled Separate Account                           **                   117,154,875
      Total Pooled Separate Account

      Registered Investment Companies
      TIAA‐CREF Funds
*     CREF Stock                                                    Registered Investment Company                     **                   780,008,064
*     CREF Money Market                                             Registered Investment Company                     **                    48,221,192
*     CREF Social Choice                                            Registered Investment Company                     **                    57,138,200
*     CREF Bond Market                                              Registered Investment Company                     **                    79,512,589
*     CREF Global Equities                                          Registered Investment Company                     **                    93,366,159
*     CREF Growth                                                   Registered Investment Company                     **                    89,797,276
*     CREF Equity Index                                             Registered Investment Company                     **                    61,147,707
*     CREF Inflation‐Linked Bond                                    Registered Investment Company                     **                    55,103,974
*     Diversified Equity Inv                                        Registered Investment Company                     **                     1,338,178
*     TIAA‐CREF Lifecycle 2010‐Inst                                 Registered Investment Company                     **                     9,818,569
*     TIAA‐CREF Lifecycle 2015‐Inst                                 Registered Investment Company                     **                    11,094,815
*     TIAA‐CREF Lifecycle 2020‐Inst                                 Registered Investment Company                     **                    18,969,098
*     TIAA‐CREF Lifecycle 2025‐Inst                                 Registered Investment Company                     **                    22,728,105
*     TIAA‐CREF Lifecycle 2030‐Inst                                 Registered Investment Company                     **                    29,424,808
*     TIAA‐CREF Lifecycle 2035‐Inst                                 Registered Investment Company                     **                    42,430,376
*     TIAA‐CREF Lifecycle 2040‐Inst                                 Registered Investment Company                     **                    49,565,037
*     TIAA‐CREF Lifecycle 2045‐Inst                                 Registered Investment Company                     **                    15,433,002
*     TIAA‐CREF Lifecycle 2050‐Inst                                 Registered Investment Company                     **                     2,737,022
*     TIAA‐CREF Lifecycle 2055‐Inst                                 Registered Investment Company                     **                     1,540,675
*     TIAA‐CREF Lfcyle Rtmt Inc‐Inst                                Registered Investment Company                     **                     1,615,295
*     TIAA‐CREF Eq Index‐Inst                                       Registered Investment Company                     **                     9,928,946
*     TIAA‐CREF Gr & Inc‐Inst                                       Registered Investment Company                     **                    20,506,107
*     TIAA‐CREF Intl Eq‐Inst                                        Registered Investment Company                     **                    20,324,804
*     TIAA‐CREF Lg‐Cap Val‐Inst                                     Registered Investment Company                     **                    21,297,304
*     TIAA‐CREF Mid‐Cap Gr‐Inst                                     Registered Investment Company                     **                    12,073,738
*     TIAA‐CREF Mid‐Cap Val‐Inst                                    Registered Investment Company                     **                    33,987,942
*     TIAA‐CREF Real Est Secs‐Inst                                  Registered Investment Company                     **                    13,638,502
*     TIAA‐CREF Sm‐Cap Eq‐Inst                                      Registered Investment Company                     **                    14,238,719
*     TIAA‐CREF Social Ch Eq‐Inst                                   Registered Investment Company                     **                    12,657,159
*     TIAA‐CREF Intl Eq Idx‐Inst                                    Registered Investment Company                     **                    40,130,112
*     TIAA‐CREF Lg‐Cap Gr Idx‐Inst                                  Registered Investment Company                     **                    11,124,802
*     TIAA‐CREF Lg‐Cap Val Idx‐Inst                                 Registered Investment Company                     **                    12,837,377
*     TIAA‐CREF S&P 500 Idx‐Inst                                    Registered Investment Company                     **                     9,842,370
*     TIAA‐CREF Sm‐Cap Bl Idx‐Inst                                  Registered Investment Company                     **                    14,828,713


The above information has been certified as complete and accurate by the Custodians at June 30, 2014.
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                                                               YALE UNIVERSITY
                                                          RETIREMENT ACCOUNT PLAN

                               FORM 5500, SCHEDULE H, LINE 4i –
            SCHEDULE OF ASSETS (HELD AT END OF YEAR) AS OF JUNE 30, 2014, Continued

                                                                      (c) Description of investment including
                                                                     maturity date, rate of interest, collateral,
(a)     (b) Identity of issue, borrower, lessor, or similar party              par or maturity value                (d) Cost   (e) Current value


      Vanguard
*       Vanguard Admiral Trsy MM                                    Registered Investment Company                     **                 1,346,742
*       Vanguard Balanced Ix Inv                                    Registered Investment Company                     **                 8,842,345
*       Vanguard Capital Opportunity                                Registered Investment Company                     **                20,892,026
*       Vanguard Capital Value                                      Registered Investment Company                     **                 3,344,116
*       Vanguard Convertible Sec                                    Registered Investment Company                     **                 4,761,064
*       Vanguard Developed Markets Idx Inv                          Registered Investment Company                     **                 3,321,542
*       Vanguard Div Growth                                         Registered Investment Company                     **                10,321,688
*       Vanguard Emrg Mkts Stk Idx Inv                              Registered Investment Company                     **                13,051,324
*       Vanguard Energy Fund Inv                                    Registered Investment Company                     **                13,962,428
*       Vanguard Equity Income Inv                                  Registered Investment Company                     **                 6,820,950
*       Vanguard Europe Stock Idx Inv                               Registered Investment Company                     **                 5,759,976
*       Vanguard Explorer Fund Inv                                  Registered Investment Company                     **                 8,733,508
*       Vanguard Extend Mkt Index Inv                               Registered Investment Company                     **                13,027,914
*       Vanguard Fed Money Mkt                                      Registered Investment Company                     **                   870,175
*       Vanguard FTSE Soc Ix Inv                                    Registered Investment Company                     **                   723,792
*       Vanguard Global Equity Fund                                 Registered Investment Company                     **                 7,197,997
*       Vanguard GNMA Investor Shares                               Registered Investment Company                     **                 3,943,514
*       Vanguard Growth & Income Inv                                Registered Investment Company                     **                 7,058,628
*       Vanguard Growth Index Inv                                   Registered Investment Company                     **                10,993,476
*       Vanguard Health Care Inv                                    Registered Investment Company                     **                19,698,224
*       Vanguard High‐Yield Corp Inv                                Registered Investment Company                     **                 9,540,977
*       Vanguard Infla‐Prot Securities                              Registered Investment Company                     **                10,664,223
*       Vanguard Inst Index Fund                                    Registered Investment Company                     **                64,730,559
*       Vanguard Intl Explorer Fund                                 Registered Investment Company                     **                 5,430,615
*       Vanguard Int'l Growth Fund Inv                              Registered Investment Company                     **                14,465,740
*       Vanguard Intl Value Fund                                    Registered Investment Company                     **                 8,387,204
*       Vanguard IT Bond Index Inv                                  Registered Investment Company                     **                 3,935,688
*       Vanguard IT Inv Grade                                       Registered Investment Company                     **                 6,180,980
*       Vanguard IT Treasury Inv                                    Registered Investment Company                     **                 2,140,057
*       Vanguard Large‐Cap Index Inves                              Registered Investment Company                     **                 1,793,675
*       Vanguard LifeSt Conserv Growth                              Registered Investment Company                     **                 2,024,725
*       Vanguard LifeSt Growth Fund                                 Registered Investment Company                     **                12,865,922
*       Vanguard LifeSt Income Fund                                 Registered Investment Company                     **                 1,120,968
*       Vanguard LifeSt Mod Growth                                  Registered Investment Company                     **                14,536,768
*       Vanguard LT Bond Index                                      Registered Investment Company                     **                 3,253,780
*       Vanguard LT Inv Grade                                       Registered Investment Company                     **                 3,748,570
*       Vanguard LT Treasury Inv                                    Registered Investment Company                     **                 5,024,771
*       Vanguard Mid‐Cap Growth Fund                                Registered Investment Company                     **                 4,244,879
*       Vanguard Mid‐Cap Index Fd Inv                               Registered Investment Company                     **                 8,814,966
*       Vanguard Morgan Growth Inv                                  Registered Investment Company                     **                10,440,097




The above information has been certified as complete and accurate by the Custodians at June 30, 2014.

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                                                              YALE UNIVERSITY
                                                         RETIREMENT ACCOUNT PLAN

                              FORM 5500, SCHEDULE H, LINE 4i –
           SCHEDULE OF ASSETS (HELD AT END OF YEAR) AS OF JUNE 30, 2014, Continued

                                                                     (c) Description of investment including
                                                                    maturity date, rate of interest, collateral,
(a)    (b) Identity of issue, borrower, lessor, or similar party              par or maturity value                (d) Cost       (e) Current value


*      Vanguard Pacific Stk Idx Inv                                Registered Investment Company                     **                    2,485,126
*      Vanguard Precious Metals                                    Registered Investment Company                     **                    3,201,404
*      Vanguard Prime Money Mkt                                    Registered Investment Company                     **                   23,024,989
*      Vanguard PRIMECAP Core Fund                                 Registered Investment Company                     **                    2,279,227
*      Vanguard PRIMECAP Fund Inv                                  Registered Investment Company                     **                   31,890,128
*      Vanguard REIT Index Fund Inv                                Registered Investment Company                     **                   14,690,260
*      Vanguard Selected Value                                     Registered Investment Company                     **                    7,344,750
*      Vanguard Sm‐Cap Growth Index                                Registered Investment Company                     **                    6,260,567
*      Vanguard Sm‐Cap Index Inv                                   Registered Investment Company                     **                   10,846,000
*      Vanguard Sm‐Cap Value Index                                 Registered Investment Company                     **                    6,009,952
*      Vanguard ST Bond Index Inv                                  Registered Investment Company                     **                    2,261,428
*      Vanguard ST Federal Inv                                     Registered Investment Company                     **                    1,850,046
*      Vanguard ST Investment Grd Inv                              Registered Investment Company                     **                    8,102,109
*      Vanguard ST Treasury Inv                                    Registered Investment Company                     **                    2,416,759
*      Vanguard STAR Fund                                          Registered Investment Company                     **                    9,094,159
*      Vanguard Strat Equity Fund                                  Registered Investment Company                     **                    7,176,572
*      Vanguard Target Retirement Inc                              Registered Investment Company                     **                    2,552,120
*      Vanguard Tgt Retirement 2010                                Registered Investment Company                     **                    3,010,727
*      Vanguard Tgt Retirement 2015                                Registered Investment Company                     **                    6,344,162
*      Vanguard Tgt Retirement 2020                                Registered Investment Company                     **                   15,910,126
*      Vanguard Tgt Retirement 2025                                Registered Investment Company                     **                   23,228,731
*      Vanguard Tgt Retirement 2030                                Registered Investment Company                     **                   16,768,912
*      Vanguard Tgt Retirement 2035                                Registered Investment Company                     **                   25,174,922
*      Vanguard Tgt Retirement 2040                                Registered Investment Company                     **                   17,351,171
*      Vanguard Tgt Retirement 2045                                Registered Investment Company                     **                   15,987,487
*      Vanguard Tgt Retirement 2050                                Registered Investment Company                     **                    3,949,493
*      Vanguard Tgt Retirement 2055                                Registered Investment Company                     **                      840,640
*      Vanguard Tgt Retirement 2060                                Registered Investment Company                     **                       99,502
*      Vanguard Total Bd Mkt Indx Inv                              Registered Investment Company                     **                   23,907,178
*      Vanguard Total Int'l Stock Idx                              Registered Investment Company                     **                   18,798,079
*      Vanguard Total Stock Mkt Inv                                Registered Investment Company                     **                   52,531,654
*      Vanguard U.S. Growth Inv                                    Registered Investment Company                     **                    9,468,406
*      Vanguard U.S. Value Fund                                    Registered Investment Company                     **                    2,845,297
*      Vanguard Value Index Inv                                    Registered Investment Company                     **                    6,307,295
*      Vanguard Wellesley Inv                                      Registered Investment Company                     **                   13,738,995
*      Vanguard Wellington Inv                                     Registered Investment Company                     **                   31,780,082
*      Vanguard Windsor II Fund Inv                                Registered Investment Company                     **                   17,940,498
*      Vanguard Windsor Inv                                        Registered Investment Company                     **                   17,215,301
      Registered Investment Companies                                                                                                  2,541,107,582
      Total Investments                                                                                                       $        3,570,561,205

* Represents party‐in‐interest
** Not applicable when participant directed




The above information has been certified as complete and accurate by the Custodians at June 30, 2014.

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                                                                       Schedule H, Line 4i
                                                             Schedule of Assets (Held At End of Year)

Name of Plan:

► YALE UNIVERSITY RETIREMENT ACCOUNT PLAN
Employer Identification Number:►     XX-XXXXXXX
For plan year (beginning/ending):►   07-01-2013/06-30-2014                                                                   Plan number:► 001

                                                                       (c) Description of investment including maturity
                                                                       date, rate of interest, collateral, par or maturity
(a)        (b) Identity of issue, borrower, lessor, or similar party                         value                               (d) Cost        (e) Current value


      Insurance Company General Contract Account
 *     TIAA Traditional Annuity Contract                               Non‐Benefit Responsive                                      **       $             911,993,535
 *     TIAA Traditional Annuity Contract                               Benefit Responsive                                          **                         305,213
      Total Insurance Company General Contract Account                                                                                                    912,298,748

      Pooled Separate Account                                                                                                                             117,154,875
 *     TIAA Real Estate                                                Pooled Separate Account                                     **                     117,154,875
      Total Pooled Separate Account

      Registered Investment Companies
      TIAA‐CREF Funds
 *    CREF Stock                                                       Registered Investment Company                               **                     780,008,064
 *    CREF Money Market                                                Registered Investment Company                               **                      48,221,192
 *    CREF Social Choice                                               Registered Investment Company                               **                      57,138,200
 *    CREF Bond Market                                                 Registered Investment Company                               **                      79,512,589
 *    CREF Global Equities                                             Registered Investment Company                               **                      93,366,159
 *    CREF Growth                                                      Registered Investment Company                               **                      89,797,276
 *    CREF Equity Index                                                Registered Investment Company                               **                      61,147,707
 *    CREF Inflation‐Linked Bond                                       Registered Investment Company                               **                      55,103,974
 *    Diversified Equity Inv                                           Registered Investment Company                               **                       1,338,178
 *    TIAA‐CREF Lifecycle 2010‐Inst                                    Registered Investment Company                               **                       9,818,569
 *    TIAA‐CREF Lifecycle 2015‐Inst                                    Registered Investment Company                               **                      11,094,815
 *    TIAA‐CREF Lifecycle 2020‐Inst                                    Registered Investment Company                               **                      18,969,098
 *    TIAA‐CREF Lifecycle 2025‐Inst                                    Registered Investment Company                               **                      22,728,105
 *    TIAA‐CREF Lifecycle 2030‐Inst                                    Registered Investment Company                               **                      29,424,808
 *    TIAA‐CREF Lifecycle 2035‐Inst                                    Registered Investment Company                               **                      42,430,376
 *    TIAA‐CREF Lifecycle 2040‐Inst                                    Registered Investment Company                               **                      49,565,037
 *    TIAA‐CREF Lifecycle 2045‐Inst                                    Registered Investment Company                               **                      15,433,002
 *    TIAA‐CREF Lifecycle 2050‐Inst                                    Registered Investment Company                               **                       2,737,022
 *    TIAA‐CREF Lifecycle 2055‐Inst                                    Registered Investment Company                               **                       1,540,675
 *    TIAA‐CREF Lfcyle Rtmt Inc‐Inst                                   Registered Investment Company                               **                       1,615,295
 *    TIAA‐CREF Eq Index‐Inst                                          Registered Investment Company                               **                       9,928,946
 *    TIAA‐CREF Gr & Inc‐Inst                                          Registered Investment Company                               **                      20,506,107
 *    TIAA‐CREF Intl Eq‐Inst                                           Registered Investment Company                               **                      20,324,804
 *    TIAA‐CREF Lg‐Cap Val‐Inst                                        Registered Investment Company                               **                      21,297,304
 *    TIAA‐CREF Mid‐Cap Gr‐Inst                                        Registered Investment Company                               **                      12,073,738
 *    TIAA‐CREF Mid‐Cap Val‐Inst                                       Registered Investment Company                               **                      33,987,942
 *    TIAA‐CREF Real Est Secs‐Inst                                     Registered Investment Company                               **                      13,638,502
 *    TIAA‐CREF Sm‐Cap Eq‐Inst                                         Registered Investment Company                               **                      14,238,719
 *    TIAA‐CREF Social Ch Eq‐Inst                                      Registered Investment Company                               **                      12,657,159
 *    TIAA‐CREF Intl Eq Idx‐Inst                                       Registered Investment Company                               **                      40,130,112
 *    TIAA‐CREF Lg‐Cap Gr Idx‐Inst                                     Registered Investment Company                               **                      11,124,802
 *    TIAA‐CREF Lg‐Cap Val Idx‐Inst                                    Registered Investment Company                               **                      12,837,377
 *    TIAA‐CREF S&P 500 Idx‐Inst                                       Registered Investment Company                               **                       9,842,370
 *    TIAA‐CREF Sm‐Cap Bl Idx‐Inst                                     Registered Investment Company                               **                      14,828,713




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                                                                       Schedule H, Line 4i
                                                             Schedule of Assets (Held At End of Year)

Name of Plan:

► YALE UNIVERSITY RETIREMENT ACCOUNT PLAN
Employer Identification Number:►     XX-XXXXXXX
For plan year (beginning/ending):►   07-01-2013/06-30-2014                                                                   Plan number:► 001

                                                                       (c) Description of investment including maturity
                                                                       date, rate of interest, collateral, par or maturity
(a)        (b) Identity of issue, borrower, lessor, or similar party                         value                               (d) Cost        (e) Current value


      Vanguard
 *      Vanguard Admiral Trsy MM                                       Registered Investment Company                               **                        1,346,742
 *      Vanguard Balanced Ix Inv                                       Registered Investment Company                               **                        8,842,345
 *      Vanguard Capital Opportunity                                   Registered Investment Company                               **                       20,892,026
 *      Vanguard Capital Value                                         Registered Investment Company                               **                        3,344,116
 *      Vanguard Convertible Sec                                       Registered Investment Company                               **                        4,761,064
 *      Vanguard Developed Markets Idx Inv                             Registered Investment Company                               **                        3,321,542
 *      Vanguard Div Growth                                            Registered Investment Company                               **                       10,321,688
 *      Vanguard Emrg Mkts Stk Idx Inv                                 Registered Investment Company                               **                       13,051,324
 *      Vanguard Energy Fund Inv                                       Registered Investment Company                               **                       13,962,428
 *      Vanguard Equity Income Inv                                     Registered Investment Company                               **                        6,820,950
 *      Vanguard Europe Stock Idx Inv                                  Registered Investment Company                               **                        5,759,976
 *      Vanguard Explorer Fund Inv                                     Registered Investment Company                               **                        8,733,508
 *      Vanguard Extend Mkt Index Inv                                  Registered Investment Company                               **                       13,027,914
 *      Vanguard Fed Money Mkt                                         Registered Investment Company                               **                          870,175
 *      Vanguard FTSE Soc Ix Inv                                       Registered Investment Company                               **                          723,792
 *      Vanguard Global Equity Fund                                    Registered Investment Company                               **                        7,197,997
 *      Vanguard GNMA Investor Shares                                  Registered Investment Company                               **                        3,943,514
 *      Vanguard Growth & Income Inv                                   Registered Investment Company                               **                        7,058,628
 *      Vanguard Growth Index Inv                                      Registered Investment Company                               **                       10,993,476
 *      Vanguard Health Care Inv                                       Registered Investment Company                               **                       19,698,224
 *      Vanguard High‐Yield Corp Inv                                   Registered Investment Company                               **                        9,540,977
 *      Vanguard Infla‐Prot Securities                                 Registered Investment Company                               **                       10,664,223
 *      Vanguard Inst Index Fund                                       Registered Investment Company                               **                       64,730,559
 *      Vanguard Intl Explorer Fund                                    Registered Investment Company                               **                        5,430,615
 *      Vanguard Int'l Growth Fund Inv                                 Registered Investment Company                               **                       14,465,740
 *      Vanguard Intl Value Fund                                       Registered Investment Company                               **                        8,387,204
 *      Vanguard IT Bond Index Inv                                     Registered Investment Company                               **                        3,935,688
 *      Vanguard IT Inv Grade                                          Registered Investment Company                               **                        6,180,980
 *      Vanguard IT Treasury Inv                                       Registered Investment Company                               **                        2,140,057
 *      Vanguard Large‐Cap Index Inves                                 Registered Investment Company                               **                        1,793,675
 *      Vanguard LifeSt Conserv Growth                                 Registered Investment Company                               **                        2,024,725
 *      Vanguard LifeSt Growth Fund                                    Registered Investment Company                               **                       12,865,922
 *      Vanguard LifeSt Income Fund                                    Registered Investment Company                               **                        1,120,968
 *      Vanguard LifeSt Mod Growth                                     Registered Investment Company                               **                       14,536,768
 *      Vanguard LT Bond Index                                         Registered Investment Company                               **                        3,253,780
 *      Vanguard LT Inv Grade                                          Registered Investment Company                               **                        3,748,570
 *      Vanguard LT Treasury Inv                                       Registered Investment Company                               **                        5,024,771
 *      Vanguard Mid‐Cap Growth Fund                                   Registered Investment Company                               **                        4,244,879
 *      Vanguard Mid‐Cap Index Fd Inv                                  Registered Investment Company                               **                        8,814,966
 *      Vanguard Morgan Growth Inv                                     Registered Investment Company                               **                       10,440,097




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                                                                      Schedule H, Line 4i
                                                            Schedule of Assets (Held At End of Year)

Name of Plan:

► YALE UNIVERSITY RETIREMENT ACCOUNT PLAN
Employer Identification Number:►     XX-XXXXXXX
For plan year (beginning/ending):►   07-01-2013/06-30-2014                                                                  Plan number:► 001

                                                                      (c) Description of investment including maturity
                                                                      date, rate of interest, collateral, par or maturity
(a)       (b) Identity of issue, borrower, lessor, or similar party                         value                               (d) Cost        (e) Current value


 *     Vanguard Pacific Stk Idx Inv                                   Registered Investment Company                               **                       2,485,126
 *     Vanguard Precious Metals                                       Registered Investment Company                               **                       3,201,404
 *     Vanguard Prime Money Mkt                                       Registered Investment Company                               **                      23,024,989
 *     Vanguard PRIMECAP Core Fund                                    Registered Investment Company                               **                       2,279,227
 *     Vanguard PRIMECAP Fund Inv                                     Registered Investment Company                               **                      31,890,128
 *     Vanguard REIT Index Fund Inv                                   Registered Investment Company                               **                      14,690,260
 *     Vanguard Selected Value                                        Registered Investment Company                               **                       7,344,750
 *     Vanguard Sm‐Cap Growth Index                                   Registered Investment Company                               **                       6,260,567
 *     Vanguard Sm‐Cap Index Inv                                      Registered Investment Company                               **                      10,846,000
 *     Vanguard Sm‐Cap Value Index                                    Registered Investment Company                               **                       6,009,952
 *     Vanguard ST Bond Index Inv                                     Registered Investment Company                               **                       2,261,428
 *     Vanguard ST Federal Inv                                        Registered Investment Company                               **                       1,850,046
 *     Vanguard ST Investment Grd Inv                                 Registered Investment Company                               **                       8,102,109
 *     Vanguard ST Treasury Inv                                       Registered Investment Company                               **                       2,416,759
 *     Vanguard STAR Fund                                             Registered Investment Company                               **                       9,094,159
 *     Vanguard Strat Equity Fund                                     Registered Investment Company                               **                       7,176,572
 *     Vanguard Target Retirement Inc                                 Registered Investment Company                               **                       2,552,120
 *     Vanguard Tgt Retirement 2010                                   Registered Investment Company                               **                       3,010,727
 *     Vanguard Tgt Retirement 2015                                   Registered Investment Company                               **                       6,344,162
 *     Vanguard Tgt Retirement 2020                                   Registered Investment Company                               **                      15,910,126
 *     Vanguard Tgt Retirement 2025                                   Registered Investment Company                               **                      23,228,731
 *     Vanguard Tgt Retirement 2030                                   Registered Investment Company                               **                      16,768,912
 *     Vanguard Tgt Retirement 2035                                   Registered Investment Company                               **                      25,174,922
 *     Vanguard Tgt Retirement 2040                                   Registered Investment Company                               **                      17,351,171
 *     Vanguard Tgt Retirement 2045                                   Registered Investment Company                               **                      15,987,487
 *     Vanguard Tgt Retirement 2050                                   Registered Investment Company                               **                       3,949,493
 *     Vanguard Tgt Retirement 2055                                   Registered Investment Company                               **                         840,640
 *     Vanguard Tgt Retirement 2060                                   Registered Investment Company                               **                          99,502
 *     Vanguard Total Bd Mkt Indx Inv                                 Registered Investment Company                               **                      23,907,178
 *     Vanguard Total Int'l Stock Idx                                 Registered Investment Company                               **                      18,798,079
 *     Vanguard Total Stock Mkt Inv                                   Registered Investment Company                               **                      52,531,654
 *     Vanguard U.S. Growth Inv                                       Registered Investment Company                               **                       9,468,406
 *     Vanguard U.S. Value Fund                                       Registered Investment Company                               **                       2,845,297
 *     Vanguard Value Index Inv                                       Registered Investment Company                               **                       6,307,295
 *     Vanguard Wellesley Inv                                         Registered Investment Company                               **                      13,738,995
 *     Vanguard Wellington Inv                                        Registered Investment Company                               **                      31,780,082
 *     Vanguard Windsor II Fund Inv                                   Registered Investment Company                               **                      17,940,498
 *     Vanguard Windsor Inv                                           Registered Investment Company                               **                      17,215,301
      Registered Investment Companies                                                                                                                  2,541,107,582
      Total Investments                                                                                                                    $           3,570,561,205

 * Represents party‐in‐interest
** Not applicable when participant directed




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